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SHORT RECORD
No. 23-8020                            RECORD NO.
Filed: 09/11/2023

                                         I n The

            United States Court Of Appeals
               For The Seventh Circuit
                                 SIGNET BUILDERS, INC.,
                                                    Petitioner-Defendant,
                                               v.
                        JOSE AGEO LUNA VANEGAS, on behalf of
                           himself and others similarly situated,
                                                    Respondent-Plaintiff.
        From the United States District Court for the Western District of Wisconsin,
                               Case No. 3:21-cv-00054-jdp
           ________________________________________________________
                   PETITION FOR PERMISSION TO APPEAL
           ________________________________________________________


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                                 INTRODUCTION
      As this Court’s sister circuits have acknowledged in three different legal

proceedings, the question raised in this Petition presents precisely the type of issue

appropriate for interlocutory review under 28 U.S.C. § 1292(b). There are no factual

disputes. Rather, Petitioner seeks to resolve an issue of first impression in this

Circuit: whether the claims of opt-in plaintiffs in an FLSA collective action must

each establish personal jurisdiction over the defendant, as contemplated by the

Supreme Court’s decision in Bristol-Myers Squibb Co. v. Superior Court, 582 U.S.

255 (2017).

      Although Bristol-Myers Squibb involved a state law mass tort action, an

increasing number of courts have correctly concluded that its holding applies with

equal force to FLSA collective actions. In the past few years, nearly every request

for certification of a nationwide collective action in a forum outside of the

defendant’s home state has been met with a personal jurisdiction challenge.

      In the last two years, three courts of appeal have granted interlocutory appeal

to decide this precise issue. Fischer v. Fed. Express Corp., 42 F.4th 366, 370 (3d

Cir. 2022) (“We granted Appellants’ petition for interlocutory appeal to resolve

whether, in an FLSA collective action in federal court where the court lacks general

personal jurisdiction over the defendant, all opt-in plaintiffs must establish specific

personal jurisdiction over the defendant with respect to their individual claims.”);



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Canaday v. The Anthem Cos., 9 F.4th 392, 395 (6th Cir. 2021) (“Canaday sought to

certify this order for interlocutory appeal. See 28 U.S.C. § 1292(b). The district court

granted Canaday her request, and so did we.”); Waters v. Day & Zimmermann NPS,

Inc., 23 F.4th 84, 86–87 (1st Cir. 2021) (“On this interlocutory appeal, we now

affirm the district court's denial of D&Z's motion”). The Eighth Circuit decided the

issue on appeal from summary judgment. Vallone v. CJS Sols. Grp., 9 F.4th 861 (8th

Cir. 2021).

       The upshot is a three-to-one circuit split. The majority view, adopted by the

Third Circuit, Sixth Circuit, and Eighth Circuit, reasons that every plaintiff who

seeks to opt in to an FLSA collective action must demonstrate that their individual

claim arises out of the defendant’s minimum contacts with the forum state.1 The First

Circuit went the other way, and its decision represents the minority view at both the

circuit and district court level.2

       While the question continues to percolate within this Circuit, district courts

have been compelled to issue decisions relying on persuasive authority from other

jurisdictions. In the absence of binding guidance, Seventh Circuit courts began

applying the majority view. Parker v. IAS Logistics DFW, LLC, No. 20 C 5103, 2021


1
 Of the circuit courts to address the Bristol-Myers Squibb issue, the Third Circuit’s
decision is the most recent.
2“
  The majority of the courts that have addressed the issue have found Bristol-Myers
applicable to FLSA actions.” Adams v. Absolute Consulting, Inc., 2023 WL
3138043, *4 (W.D. Tex. April 27, 2023).

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WL 4125106 (N.D. Ill. Sept. 9, 2021) (“For these reasons, the Court finds that

personal jurisdiction over the defendant must exist as to each opt-in.”). See also

Iannotti v. Wood Grp. Mustang, 603 F. Supp. 3d 649, 656 (S.D. Ill. 2022) (“the

analysis set forth by the Sixth and Eighth Circuits on this issue are more

persuasive.”).

      By holding that the personal jurisdiction principles of Bristol-Myers Squibb

do not apply to FLSA collective actions, the District Court below created an

intra-circuit split. In doing so, the District Court also disagreed with the majority

view expressed by Third, Sixth, and Eighth Circuits. 3

      Consequently, this case presents an appropriate vehicle for the Seventh Circuit

to articulate a clear standard and provide much needed guidance on this emerging

issue. Without immediate appellate review, this issue will inevitably arise again in

future cases while trial courts grapple with inconsistent precedent and a paucity of

binding authority. Litigants on both sides of the v would likewise benefit from

predictable rules regarding the appropriate scope of collective actions in this

Circuit—especially where, as here, the inclusion of out-of-state plaintiffs would


3
 Moreover, although the District Court purported to adopt the position of the First
Circuit, its reasoning does not track. Compare Dkt. 123, p. 6 (“The opt-ins are for
nearly all purposes absent parties whose interests the court must step in to protect”)
with Waters, 23 F.4th at 91 (“the FLSA's text, Supreme Court precedent, and a
majority of circuit court decisions compel only one conclusion: the opt-ins who filed
consent forms with the court became parties to the suit upon filing those forms.
Nothing else is required to make them parties.”).

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multiply the number of claims and the potential damages by such a tremendous

extent (from ~25 to more than 500 potential plaintiffs).

      This Court has “emphasize[d] the duty” of granting petitions “to allow an

immediate appeal to be taken when the statutory criteria are met.” Ahrenholz v.

Board of Trustees of the University of Illinois, 219 F.3d 674, 677 (7th Cir. 2000).

Here, as the District Court appropriately recognized, its Order satisfies each of the

§ 1292(b) statutory prerequisites. Accordingly, the Court should grant this Petition

and resolve these consequential unsettled questions of law.

                        STATEMENT OF JURISDICTION

      This Court may permit an interlocutory appeal when a district court certifies

that an interlocutory order “involves a controlling question of law as to which there

is substantial ground for difference of opinion and that an immediate appeal from

the order may materially advance the ultimate termination of the litigation.” 28

U.S.C. § 1292(b). The District Court made these determinations in its September 1,

2023 Order. See Dkt. 123.4 This Petition is timely because it is filed within 10 days

of the Order. 28 U.S.C. § 1292(b); Fed. R. App. P. 5(a). Copies of the relevant Orders

are attached hereto as part of the Appendix to this Petition.




4
 Unless otherwise stated, record citations (“Dkt.”) refer to the corresponding docket
number in the underlying district court proceeding, Case No. 3:21-cv-00054-jdp.

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                            QUESTION PRESENTED

       The controlling question of law presented is whether, in a Fair Labor

Standards Act (“FLSA”) collective action in federal court where the court lacks

general personal jurisdiction over the defendant, the court may grant conditional

certification and facilitate the issuance of notice without having specific personal

jurisdiction over the defendant with respect to the individual claims of all potential

opt-in plaintiffs.

                                RELIEF SOUGHT

       Petitioner-Defendant Signet Builders, Inc. (“Petitioner” or “Signet”) seeks

reversal of the District Court’s August 2, 2023 Order (Dkt. 107), as amended by the

September 1, 2023 Order (Dkt. 123), and remand to the District Court with

instructions that a conditionally certified collective action may not include

individuals who worked for Signet exclusively outside of the state of Wisconsin.

           RELEVANT FACTUAL AND PROCEDURAL HISTORY

       Respondent-Plaintiff Jose Luna Vanegas (“Respondent”) brought this FLSA

claim on behalf of himself and all others similarly situated, and he has since filed an

amended complaint to add state law claims. Respondent’s primary claim involves

allegations that Signet violated the overtime provisions of the FLSA by classifying

its H-2A workers as exempt under the secondary agriculture exception—despite the

U.S. Department of Labor having already decided that the job duties of these workers


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qualify as agricultural, a required prerequisite to participating in the H-2A program.

This Court previously heard this case on Respondent’s appeal from the Order

granting Signet’s Motion to Dismiss. See Vanegas v. Signet Builders, Inc., 46 F.4th

636, 645 (7th Cir. 2022).

      The majority of the underlying facts are not disputed. In the three years since

this litigation commenced, only one additional plaintiff has opted in to this action.

Neither Respondent nor the other opt in plaintiff have worked for Signet since 2019.

Over Signet’s objection, the District Court granted Respondent’s Motion for

Conditional Certification on August 2, 2023. See Dkt. 107. As stated in the Order,

the court “decline[d] to resolve the issue” of whether Bristol-Myers Squibb precludes

the assertion of personal jurisdiction over the claims of current and former Signet

workers who never performed any work for Signet in the state of Wisconsin.

Nonetheless, the court conditionally certified a collective action including more than

500 out-of-state workers and ordered Signet to assist with facilitating the issuance

of opt-in notices to each of these workers. Dkt. 107, p. 19-22.

      Upon review of that Order, Signet promptly filed a Combined Petition for

Certification of Interlocutory Appeal, Motion to Amend Court Order, and Motion to

Stay Proceedings Pending Appeal. See Dkt. 110. Signet pointed out that the Order

contemplated more than 90% of the notices being sent to individuals who may

ultimately be legally ineligible to participate in the action. Signet also noted that


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“since the Sixth Circuit’s Canaday decision, it appears that [the District Court’s]

procedural order of operations has not been followed by any other district court.” Id.

at 2.

        The court then issued an Order amending its prior Order, concluding that it

“need not separately consider personal jurisdiction over the claims of the potential

out-of-state opt-in plaintiffs,” and certifying the issues for interlocutory review

under 28 U.S.C. § 1292(b). See Dkt. 123, pp. 6-9. The court acknowledged that its

proposed certified collective “has about 30 potential members who worked in

Wisconsin and almost 600 who did their work in other states[,]” and inclusion of the

latter group would require the court “to decide the claims of workers with no

connection to Wisconsin.” Id., p. 1. The September 1, 2023 Order included a

statement that the § 1292(b) factors were satisfied. Id., p. 7.

        On September 5, 2023, Respondent filed a Motion for Reconsideration on the

narrow issue of whether the entire proceedings should be stayed (as the court had

ruled). See Dkt. 124. Although the District Court’s certification speaks for itself,

Respondent also requested clarification of which order is certified for interlocutory

appeal. Id., p. 7 (“Plaintiffs further move for reconsideration and an order clarifying

that the only Order in certified is ECF#123 and not ECF #107.”). That Motion

remains pending before the court and Signet’s response deadline has been set for

September 11, 2023.


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       Importantly, none of the relief requested by Respondent in the September 5

Motion would result in this Court being divested of jurisdiction over this Petition.

For the purposes of this Petition, as set forth below, Petitioner focuses only on the

issues decided in the Order at Dkt. 123. Therefore, the District Court’s ruling on

Respondent’s Motion has no bearing on this Petition.

       None of the facts necessary to resolve this appeal are disputed—Signet is

neither headquartered nor principally at home in the state of Wisconsin, and the

putative out-of-state opt-in plaintiffs have no other basis to assert specific personal

jurisdiction over Signet in the context of this FLSA collective action.

                                LEGAL ARGUMENT

       “Interlocutory appeal is appropriate when (1) the appeal presents a question

of law; (2) it is controlling; (3) it is contestable; (4) its resolution will expedite the

resolution of the litigation, and (5) the petition to appeal is filed in the district court

within a reasonable amount of time after entry of the order sought to be appealed.”

Boim v. Quranic Literacy Institute & Holy Land Foundation, 291 F.3d 1000, 1007

(7th Cir. 2002). See also Boone v. Ill. Dep't of Corr., No. 23-8012 (7th Cir. Jun. 21,

2023) (“We may accept interlocutory appeals only if they present questions of law

that are controlling and contestable, the resolution of which would speed up the

litigation.”). Here, the questions decided in the District Court’s Order and raised in

this Petition satisfy these criteria.


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I.    This appeal presents a question of law.

      Signet contends that the personal jurisdiction rules set forth in Bristol-Myers

Squibb necessarily must apply in the context of collective actions under the FLSA.5

Respondent disagrees. The Parties, however, agree that this interpretation of

statutory and common law principles presents a pure abstract legal question that can

be decided without any review of the record or the underlying facts of this case. As

Respondent explained in his Brief in Response to Signet’s Motion for Interlocutory

Appeal, “the discovery to date indicates that none of those factual considerations

are disputed. What is disputed is simply the legal conclusion to be drawn from those

undisputed facts.” Dkt. 114, p. 9.

      Indeed, the District Court’s analysis of the issue included zero citations to the

record and little to no mention of the specific facts and parties in this case. See Dkt.

123, pp. 3–7. Judge Peterson correctly recognized that “[w]hether Bristol-Myers

Squibb applies to FLSA collective actions is a pure question of law that can be

decided on appeal without a study of the factual record.” Id., p. 7.




5
  Put differently, “where the basis of personal jurisdiction in an FLSA collective
action in a federal court is specific personal jurisdiction established by serving
process according to Federal Rule of Civil Procedure 4(k)(1)(A), every plaintiff who
seeks to opt in to the suit must demonstrate his or her claim arises out of or relates
to the defendant's minimum contacts with the forum state.” Fischer v. Fed. Express
Corp., 42 F.4th 366, 370 (3d Cir. 2022).

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      This Court agrees: “Decisions holding that the application of a legal standard

is a controlling question of law within the meaning of section 1292(b) are

numerous.” In re Text Messaging Antitrust Litigation, 630 F.3d 622, 626 (7th Cir.

2010) (collecting cases). Where, as here, “[t]he interlocutory appeal that we are

asked to authorize in this case does not seek to overturn any findings of fact,” it

presents a question of law ripe of interlocutory appeal. Id. at 625.

      Applications and interpretations of FLSA conditional certification standards

regularly present the type of legal questions that warrant discretionary appellate

review. See, e.g., Bigger v. Facebook, Inc., 947 F.3d 1043, 1048 (7th Cir. 2020)

(“The district court denied Facebook’s motion for summary judgment, and—

conditionally certifying the proposed collective—authorized notice to be sent to all

employees in the group Bigger proposed. Facebook sought and was granted

interlocutory appeal of these decision”); Clark v. A&L Homecare & Training Ctr.,

LLC, 68 F.4th 1003, 1008–09 (6th Cir. 2023) (“We review . . . a district court's

decision whether to send notice of an FLSA suit to ‘other employees’ of the

defendant. . . . The principal question here is one of law.”).

      Indeed, as mentioned above, three circuit courts already decided that this

precise issue of whether Bristol-Myers Squibb applies to claims of FLSA opt-in

plaintiffs satisfies the § 1292(b) criteria; each of those courts granted petitions for




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permission to appeal. Fischer, 42 F.4th at 370; Canaday, 9 F.4th at 395; Waters, 23

F.4th at 86–87.

      This Court has further articulated certain categories of issues that will

generally qualify as questions of law: issues of first impression, issues where the

circuits are split, and issues involving interpretations of recent Supreme Court

decisions—and here, the question presented bears all three of these supplemental

indicia of a pure legal question. In re Text Messaging Antitrust Litigation , 630 F.3d

at 626–27 (granting interlocutory review of issues related to heightened pleading

standards because “Twombly is a recent decision, and its scope unsettled,” and

“previous cases do not address” the questions presented, “and that is a further

novelty that justifies the conclusion that the appeal presents a genuine question of

law.”).

II.   The question of law is controlling.

      In the § 1292(b) context, “‘controlling’ means serious to the conduct of the

litigation, either practically or legally.” Johnson v. Burken, 930 F.2d 1202, 1205–06

(7th Cir. 1991) (quoting Katz v. Carte Blanche Corp., 496 F.2d 747, 755 (3d Cir.

1974)). See also Boone v. Ill. Dep't of Corr., No. 23-8012, at *6 (7th Cir. June 21,

2023) (holding that “the question of law is controlling” where its resolution is “quite

likely to affect the future course of the litigation.” (citation omitted)).




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      With the benefit of intimate familiarity with the underlying facts and

procedural posture of this case, the District Court had no trouble concluding that

Signet’s certified question “is controlling because it will dramatically affect the

future scope of the litigation.” Dkt. 123, p. 7. Among other things, a conditionally

certified collective action inclusive of out-of-state plaintiffs would materially

expand the scope of discovery, potential damages, and the costs of litigation.

      Indeed, “the Seventh Circuit has observed that a plaintiff's discovery demands

upon conditional certification may impose ‘a tremendous financial burden to the

employer.’” Adair v. Wisconsin Bell, Inc., No. 08-C-280, 2008 WL 4224360, at *4

(E.D. Wis. Sept. 11, 2008) (quoting Woods v. New York Life Ins. Co., 686 F.2d 578,

581 (7th Cir. 1982)). These concerns are particularly salient here—the inclusion of

out-of-state plaintiffs increases the size of the conditionally certified collective from

fewer than 30 to up to 600 potential opt-in plaintiffs. See Dkt. 96-1; Dkt. 110, p. 6.

      Relatedly, as other courts have recognized, allowing the ruling below to stand

“would ‘encourage gamesmanship’ in federal court suits because ‘different FLSA

plaintiffs would face different jurisdictional standards depending on whether they

sue as named plaintiffs or opt in later.” Wilkerson v. Walgreens Specialty Pharmacy

LLC, No. CV-21-01427-PHX-JAT, 2022 WL 15520004, at *6 (D. Ariz. Oct. 27,

2022) (quoting Carlson v. United Nat. Foods, Inc., No. C20-5476-JCC, 2021 WL

3616786 (W.D. Wash. Aug. 14, 2021).


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III.   The application of Bristol-Myers Squibb to FLSA collective actions is
       contestable, and difference of opinion exists both within this Circuit and
       amongst the circuits.

       The questions presented by this appeal are the subject of an active circuit split.

See Dkt. 123, p. 7 (“The circuit split on the question shows that it is contestable.”).

Although a majority view has now solidly emerged, the court below declined to

follow the holdings of the Third, Sixth, and Eighth Circuits. Instead, Petitioner

appeals from an Order that applied the minority view as set forth by the First Circuit

in Waters, 23 F.4th 84.6

       Likewise, the District Court’s holding cannot be reconciled with the precedent

that has guided the Northern District of Illinois for the last two years. Zigler v.

Edward D. Jones & Co., L.P., No. 22 C 4706, 2023 WL 3918966, at *3 (N.D. Ill.

June 9, 2023) (“The Seventh Circuit has not spoken on this issue, and [] several

courts in this circuit have aligned with the view of the Sixth and Eighth Circuits[.]”).7


6
  It is possible that the outlier First Circuit may reverse itself at some point, as neither
of the two judges who joined the majority opinion remain active. Of the three judges
on the Waters panel, the only presently active First Circuit judge dissented and
agreed with the reasoning of the Sixth and Eighth Circuits. Although admittedly
speculative, the potential resolution of the circuit split provides another reason to
take up this appeal and correct the lower court’s inconsistent ruling.
7
  The Zigler case also illustrates a related procedural error made by numerous recent
district courts in this Circuit. As thoroughly explained in Signet’s Briefs at Dkt. 110
and Dkt. 120 (both attached as part of the Appendix to this Petition), courts continue
to quote language from procedurally inapposite orders to conclude that personal
jurisdiction should not be decided “prior to conditional certification.” As Signet
pointed out, however, it appears that the only cases—other than this one—where the

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      In Parker v. IAS Logistics LLC, the court unambiguously held “that personal

jurisdiction over the defendant must exist as to each opt-in.” No. 20 C 5103, 2021

WL 4125106, at *3 (N.D. Ill. Sept. 9, 2021). The Parker court went on to reason that

“it is difficult to come to a different conclusion given the language in Bristol-Myers,

which is repeated twice in the opinion, to the effect that for each plaintiff, there must

be an affiliation between the forum and the underlying controversy, principally, an

activity or occurrence that takes place in the forum State.” Id. (cleaned up). Yet the

District Court in this case nonetheless embraced the minority position, thereby

presenting an intra-circuit split between the Western District of Wisconsin and the

Northern District of Illinois. Only this Court can resolve this contested issue.

IV.   Resolution of this issue now will expedite the litigation.

      Given the vast disparity between the number of potential opt-in plaintiffs who

worked for Signet in Wisconsin and the number of potential opt-in plaintiffs who do

not have a basis to assert specific personal jurisdiction over Signet, immediate

resolution of this issue will necessarily expedite the litigation. See Holder v. A&L

Home Care & Training Ctr., LLC, 552 F. Supp. 3d 731, 747–48 (S.D. Ohio 2021)

(certifying collective action conditional certification order for review under



collective action was conditionally certified to include out-of-state claims without
deciding the Bristol-Myers Squibb personal jurisdiction issue first were decided
before issuance of any of the relevant circuit court decisions on the issue, or before
Bristol-Myers Squibb itself. See Dkt. 110, p. 11; Dkt. 120, p. 11.

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§ 1292(b) and reasoning that “an immediate appeal may move this litigation along”

because “[t]he size of the class and the investments of time and money have a direct

bearing on settlement pressure, damages, and how the parties and the Court manage

the litigation.”).

       Indeed, “all that section 1292(b) requires as a precondition to an interlocutory

appeal, once it is determined that the appeal presents a controlling question of law

on which there is a substantial ground for a difference of opinion, is that an

immediate appeal may materially advance the ultimate termination of the litigation.”

Sterk v. Redbox Automated Retail, LLC, 672 F.3d 535, 536 (7th Cir. 2012) (emphasis

in original).

       The importance of decisively resolving this issue now—before any notice is

sent to opt-in plaintiffs—cannot be understated. In recognition of the tremendous

impact of court-sanctioned notice in collective actions, the Supreme Court has

cautioned against crossing the line from facilitation to solicitation of claims through

issuing notice to an overbroad class. Hoffmann-La Roche Inc. v. Sperling, 493 U.S.

165, 174 (1989). Here, immediate appellate review will materially impact the

litigation by protecting against the issuance of notice to employees whose claims

may not be able to be brought in this action (or in any Wisconsin court) under

Bristol-Myers Squibb; Signet would be unable to remedy this harm on appeal from

a final judgment. See Clark, 68 F.4th at 1010 (citing Hoffmann-La Roche, 493 U.S.


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at 173–75) (“notice sent to employees who are not, in fact, eligible to join the suit

amounts to solicitation of those employees to bring suits of their own.”).

      As this Court recently explained in another interlocutory appeal from an

FLSA conditional certification decision, “where the court has been shown certain

individuals may not join the action . . . the risk is high that the notice will appear to

facilitate abuse of the collective-action device and thus place a judicial thumb on the

plaintiff’s side of the case.” Bigger, 947 F.3d at 1049-50 (accepting interlocutory

appeal from an FLSA conditional certification order to avoid the “danger” expressed

by the Supreme Court that court-facilitated notice “may become indistinguishable

from the solicitation of claims”). Here, as in Bigger, the Order on appeal

contemplates sending notice to potential plaintiffs who—if the Order incorrectly

decided the Bristol-Myers Squibb issue—are legally ineligible to ever join the action.

      Another decision articulates precisely how inefficient it would be to wait until

a final judgment to decide the appropriate certification issues in the collective action

context:

      a decision from the court of appeals on the decertification issue may
      materially advance the ultimate termination of the litigation. If the court
      of appeals upholds the decertification decision, the parties can proceed
      to trial on plaintiffs’ individual claims without worrying about the
      effect the trial will have on the claims of the former class members and
      opt-in plaintiffs. For example, if the named plaintiffs’ claims are
      resolved at a trial before the court of appeals issues a decision on
      decertification, the named plaintiffs could no longer act as
      representatives of the class. Likewise, if the court of appeals reverses
      the decertification decision, the parties can proceed to trial with the

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      class and collective action. Therefore, it makes good sense to certify the
      decision for interlocutory review.

Espenscheid v. DirectSat USA, LLC, No. 09-CV-625-BBC, 2011 WL 2132975, at
*1–2 (W.D. Wis. May 27, 2011).

      The same reasons counsel in favor of appellate review here. Additionally, no

harm will result from granting this appeal because the court has tolled the statute of

limitations for opt-in plaintiffs for the pendency of this appeal. See Dkt. 123, p. 8

(“to ameliorate potential harm to the plaintiffs, the court will toll the statute of

limitations for putative collective members during the pendency of the interlocutory

appeal.”).

      Accordingly, and as confirmed by the analogous decisions of the Sixth and

Third Circuits, granting interlocutory review of this threshold issue satisfies this

factor and all other statutory perquisites. Granting this Petition fulfills “the purpose

of Section 1292(b) to speed litigation and conserve judicial resources.” Moss v.

Healthcare Compare Corp., 75 F.3d 276, 280 (7th Cir. 1996).

V.    The request for interlocutory certification was timely filed.

      Some of this Court’s decisions have articulated one additional prudential

requirement that must be met in order to petition for permission to appeal: petitioners

must have “filed their motions for certificates of appealability in the district court

within a reasonable amount of time after entry of the district court's order.” Boim v.

Quranic Literacy Institute & Holy Land Foundation, 291 F.3d 1000, 1007-08 (7th


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Cir. 2002). Here, Signet easily satisfies this factor—its Motion to Amend Court

Order and to Certify Interlocutory Appeal was filed with the District Court on

August 11, 2023, nine days after the Order was issued. See id. (finding one month

to be a reasonable amount of time).

VI.   The Court should exercise its discretion to accept this appeal.

      District courts, litigants, and practitioners within this Circuit cannot

meaningfully distill the current state of the law on this consequential issue without

guidance from this Court. This issue will continue to resurface in litigation, and

without such guidance, judges will have to decide the issue de novo with each new

nationwide collective action, litigants will have to make critical settlement and

discovery decisions under threat of uncertainty, and practitioners will have to advise

their clients based on speculative predictions as to which set of persuasive authority

any given district judge may choose to follow.

      Given the unique procedural posture of FLSA conditional certification

motions, this important question of law will continue to evade judicial review absent

interlocutory review. Once notice has been sent, there is no way to un-ring the bell.

And by the time the collective action has been fully litigated—or settled—the notice

issue will be moot and non-reviewable. If this Court agrees that guidance on this

issue is necessary, it can only be achieved through interlocutory review.




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                                 CONCLUSION

      For the foregoing reasons, and pursuant to Fed. R. App. P. 5 and 28 U.S.C.

§ 1292(b), Petitioner respectfully requests that the Court grant permission to appeal

the District Court’s August 2, 2023 Order, as amended by its September 1, 2023

Order. Should the Court agree to accept this appeal, Petitioner respectfully requests

the opportunity for merits briefing and oral argument.

      Respectfully submitted, this 11th day of September, 2023.

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                          CERTIFICATE OF COMPLIANCE
         The undersigned certifies that the foregoing Petition for Permission to Appeal

complies with the page limitation of Fed. R. App. 5(b)(1) because it is less than 20

pages.

         The undersigned further certifies that this Petition complies with the

requirements of Fed. R. App. P. 32(a)(1) and 32(c)(2), the typeface requirements of

Fed. R. App. P. 32(a)(5), and the type style requirements of Fed. R. App. P. 32(a)(6)

because this Petition has been prepared in a proportionally-spaced typeface in 14-

point Times New Roman style font.

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                 CERTIFICATE OF FILING AND SERVICE
      I hereby certify that on September 11, 2023, I filed the foregoing with the

Clerk of Court for the United States Court of Appeals for the Seventh Circuit via

electronic mail to USCA7_Clerk@ca7.uscourts.gov and served the foregoing on all

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SODLQWLII VGLVFRYHU\GHPDQGVXSRQFRQGLWLRQDOFHUWLILFDWLRQPD\LPSRVHµDWUHPHQGRXVILQDQFLDO

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VKRXOGEHVWD\HGSHQGLQJWKH6XSUHPH&RXUW¶VDGMXGLFDWLRQRIWKHWKUHVKROGOHJDOLVVXH

          3ODLQWLII¶V 0RWLRQ IDLOV EHFDXVH 3ODLQWLII KDV PDGH QR HIIRUW WR SURVHFXWH KLV FODLPV RQ

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SURFHHGLQJDVDFROOHFWLYH(YHQWKHFDVHVUHOLHGXSRQE\3ODLQWLIIDUHHDVLO\GLVWLQJXLVKHG²QRQH

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WKDQWZR\HDUVDQGWKHQILOHGD5HQHZHG0RWLRQZLWKQRQHZGHFODUDWLRQVRUWHVWLPRQ\DQGQR

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HYHQW WKDW WKLV &RXUW GLVDJUHHV DQG PD\ EH LQFOLQHG WR FRQGLWLRQDOO\ FHUWLI\ D FODVV RI 6LJQHW¶V

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            % 3ODLQWLII'RHV1RW0DNHD6XIILFLHQW)DFWXDO6KRZLQJ
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        $WWKH³LQLWLDOFRQGLWLRQDOVWHS´WKHRQHSUHVHQWHGKHUHWKHSODLQWLIIPXVWVKRZWKDW³  

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EXUGHQDV³PRGHVW´LWLV³QRWDWRRWKOHVVRQH´5REHUWVY2QH2II+RVS*US/WG1R&

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infra %XW HYHQ LI DGRSWLQJ KLV IUDPHZRUN 3ODLQWLII RYHUORRNV WKH ILUVW SDUW RI KLV EXUGHQ KLV

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  ,Q FDVHV ZKHUH ³VLJQLILFDQW GLVFRYHU\´ WRRN SODFH EHIRUH WKH SODLQWLII PRYHG IRU FRQGLWLRQDO
FHUWLILFDWLRQ³GLVWULFWFRXUWVKDYHUHTXLUHGSODLQWLIIVWRPHHWDQµLQWHUPHGLDWHVWDQGDUG¶´6PLWKY
)DPLO\9LGHR0RYLH&OXE,QF1R&DW  1',OO)HE  TXRWLQJ:\QQ
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PD\EHDSSOLHGRQDPRWLRQIRUFRQGLWLRQDOFHUWLILFDWLRQZKHUHVXEVWDQWLDOGLVFRYHU\DOUHDG\KDV
WDNHQSODFH´ 

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        -XVWOLNH3ODLQWLIIKHUHDUJXHVWKDWDOOZRUNHUVDUHVXEMHFWWRVLPLODU+$ZRUNFRQWUDFWV

WKHSODLQWLIILQDUHFHQW:LVFRQVLQ)/6$FDVH³DUJXH>G@WKDWDOOSXWDWLYHFROOHFWLYHPHPEHUVVLJQHG

,&2$V>,QGHSHQGHQW&RQWUDFWRU2SHUDWLQJ$JUHHPHQWV@ZKLFKZHUHVXEVWDQWLYHO\LGHQWLFDOLQDOO

PDWHULDO WHUPV DQG WKHUHIRUH WKDW DOO SXWDWLYH FROOHFWLYH PHPEHUV ZHUH VXEMHFW WR 'HIHQGDQWV¶

SROLF\ RI PLVFODVVLILFDWLRQ DQG UHVXOWLQJ ZDJH ODZ YLRODWLRQV´ 3ODFLGH Y 5RDGUXQQHU

7UDQVSRUWDWLRQ6HUYV,QF1R&9-36:/DW  (':LV$XJ

  7KHUH WKH SODLQWLII VXSSRUWHG WKDW WKHRU\ ³ZLWK KLV RZQ GHFODUDWLRQ´ ³KLV SHUVRQDO

NQRZOHGJH´ DQG FRSLHV RI WKH VLJQHG ,&2$V ,G (YHQ DIWHU QRWLQJ WKDW WKH GHIHQGDQW GLG QRW

³UHIXWHWKHDOOHJDWLRQVLQ >SODLQWLII¶V@GHFODUDWLRQ´WKHFRXUWKHOG WKDW³>W@KLV HYLGHQFH VWDQGLQJ

DORQHLVQRWVXIILFLHQWWRPHHWWKHUHTXLVLWHPRGHVWIDFWXDOVKRZLQJ´DQG³QRWHQRXJKWRVXSSRUW

FRQGLWLRQDOFHUWLILFDWLRQRIWKH)/6$FROOHFWLYH´,G

        7KH3ODFLGHFRXUWZHQWRQWRRSLQHWKDW³LWLVSX]]OLQJZK\>WKHSODLQWLII@FKRVHWRUHO\RQ

KLVRZQGHFODUDWLRQ´ZKHQ³KHFRXOGKDYHVXEPLWWHGGHFODUDWLRQV´IURP³PXOWLSOHRWKHU´VLPLODUO\

VLWXDWHGHPSOR\HHV,GDW +HUHWRRLWLVSX]]OLQJZK\PRUHWKDQWZR\HDUVDIWHUILOLQJVXLW

DJDLQVW6LJQHW3ODLQWLIIDQGKLVFRXQVHOFKRVHWRFUDIWWKHLURZQVHOIVHUYLQJGHFODUDWLRQVUDWKHU

WKDQVXEPLWGHFODUDWLRQVIURPRWKHU6LJQHWHPSOR\HHV

        ,QGHHG FRXUWV HYDOXDWLQJ FRQGLWLRQDO FHUWLILFDWLRQ PRWLRQV WKURXJKRXW WKLV &LUFXLW

FRQVLVWHQWO\PDNHFOHDUWKDW³>S@ODLQWLIIVPXVWSURYLGHIDFWXDOVXSSRUWIRUWKHLUDOOHJDWLRQVµLQWKH

IRUPRIDIILGDYLWVGHFODUDWLRQVGHSRVLWLRQWHVWLPRQ\RURWKHUGRFXPHQWV¶´(YDQVY'DUW1R

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  ,QGHHGWKHIDLOXUHWRGRVRW\SLFDOO\SURYHVIDWDOWRSODLQWLIIV¶UHTXHVWVIRUMXGLFLDOLQWHUYHQWLRQ

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VLWXDWHGHPSOR\HHVZKRZRUNHGDWWKHGHIHQGDQWV¶UHVWDXUDQWV´ 6HHDOVR)RUGY0,-,QF1R

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QDPHGSODLQWLII VEDVLVIRUKHUNQRZOHGJHRIRWKHUZRUNHUV¶FLUFXPVWDQFHVZHUHLQVXIILFLHQWWR

VXSSRUWFRQGLWLRQDOFHUWLILFDWLRQ 

       'HVSLWHWKLVSUHFHGHQW3ODLQWLIIEROGO\DVVHUWVWKDWWKHPHUHH[LVWHQFHRIDZRUNSODFHSROLF\

SXUSRUWHGO\DSSOLFDEOHWRDOOUHOHYDQWZRUNHUV³LVVXIILFLHQWWRMXVWLI\FHUWLILFDWLRQ´ 'RFS

 <HWZKHQH[DPLQLQJWKHVXEVHTXHQWVWULQJFLWHGFDVHVLQ3ODLQWLII¶V0RWLRQLWLVDEXQGDQWO\

FOHDUWKDWDSROLF\³DORQH´FDQQRWVDWLVI\3ODLQWLII¶VEXUGHQ6HH.HOO\Y%OXHJUHHQ&RUS

)5' :':LV  RQO\ILQGLQJWKDWSODLQWLIIPDGHDVXIILFLHQWIDFWXDOVKRZLQJ

³LQ OLJKW RI´VXSSOHPHQWDO GHFODUDWLRQVIURP WKUHHQDPHGSODLQWLIIVDQGRQHDGGLWLRQDOSXWDWLYH

RSWLQ  $XVWLQ Y &81$ 0XW ,QV 6RF  )5'   :' :LV   GHIHQGDQW

VXEPLWWHGOLVWRILQGLYLGXDOVLQWKHSURSRVHGFODVV 6FKURHGHUY+XPDQD,QF1R&

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DGGLWLRQDO SXWDWLYH SODLQWLIIV  GHFODUDWLRQV DQG WKH WHVWLPRQ\ RI +XPDQD V FRUSRUDWH

UHSUHVHQWDWLYHV´  &DUGHQDV Y $- 3LHGLPRQWH $JULF 'HY //& 1R &9($:0-5

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DXWKRULW\3ODLQWLIISRLQWVWRQRFDVHLQZKLFKDFRXUWJUDQWHGFRQGLWLRQDOFHUWLILFDWLRQEDVHGRQ

RQO\RQHHPSOR\HHGHFODUDWLRQ

       ,QIDFW/XQD9DQHJDV¶VRZQGHFODUDWLRQSUHVHQWVDVKDUSGLVWLQFWLRQWRKLVFLWHGDXWKRULW\

,QWKHGHFODUDWLRQ3ODLQWLIIexclusivelyGLVFXVVHVKLVSHUVRQDOFRQGLWLRQVRIHPSOR\PHQW³myZRUN

ZLWK6LJQHW´³,QI SHUIRUPHGZRUN´³(DFK\HDUI UHFHLYHGDOORIP\GLUHFWLRQV´DQGVR



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IRUWK 'RF   (YHQ LQ FDVHV ZKHUH WKH QDPHG SODLQWLII UHOLHV XSRQ WKHLU RZQ VHOIVHUYLQJ

GHFODUDWLRQVWKH\ORVHWKHLUPRWLRQEXWWKH\DWOHDVW³DWWHVW>@WR>WKHLU@SHUVRQDONQRZOHGJHDERXW

RWKHUHPSOR\HHV>@´.LPY0DKD,QF1R&:/DW  1',OO-DQ

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DVVHUWLRQV´²KHPDNHVno DVVHUWLRQVZKDWVRHYHU DERXW DQ\VLPLODUO\VLWXDWHGHPSOR\HHV7KXV

3ODLQWLIIPXVWIDOOEDFNRQFLWLQJWRKLV&RPSODLQWDVWKHRQO\EDVLVIRUVKRZLQJVLPLODULW\ZLWK

SXWDWLYHFODVVPHPEHUV +LVXQYHULILHG&RPSODLQW KRZHYHUGRHV QRW TXDOLI\DV HYLGHQFH DQG

³WKHFRXUWLVXQGHUQRREOLJDWLRQDVLWZRXOGEHRQDPRWLRQWRGLVPLVVWRDFFHSWDOOWKHSODLQWLIIV 

DOOHJDWLRQVDVWUXH´+RZDUGY6HFXULWDV6HF6HUYV86$,QF1R&:/

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        3ODLQWLII¶V HYLGHQWLDU\ VKRUWFRPLQJV DUH SDUWLFXODUO\ UHOHYDQW JLYHQ WKH XQGLVSXWHG IDFWV

WKDWKHGLGQRWZRUNGXULQJWKHVDPHWLPHSHULRGRUHYHQDWWKHVDPHORFDWLRQVDVWKHYDVWPDMRULW\

RIHPSOR\HHVKHVHHNVWRUHSUHVHQW8QGHUWKRVHFLUFXPVWDQFHVSODLQWLIIVPXVWW\SLFDOO\DWOHDVW

VXEPLWGHFODUDWLRQVRUWHVWLPRQ\RIUHSUHVHQWDWLYHHPSOR\HHVIURPWKHUHOHYDQWWLPHSHULRGVRU

ORFDWLRQV /RFK Y $P )DPLO\ 0XW ,QV &R FYMGS DW  :' :LV 0DU   

GHQ\LQJFRQGLWLRQDOFODVVFHUWLILFDWLRQDQGDJUHHLQJZLWKWKHGHIHQGDQWWKDW³LWLVQRWUHDVRQDEOH

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PDNLQJWKHLULQIRUPDWLRQRXWGDWHG´ %UXVNHY&DSLWRO:DWHUWRZQ6SUHFKHUV//&1R&9

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WR RWKHU ORFDWLRQV ZKHQ ³SODLQWLIIV KDYH SURGXFHG SUDFWLFDOO\ QR HYLGHQFH UHODWHG WR´ ZRUNLQJ

FRQGLWLRQV DW WKRVH ORFDWLRQV  2QFH DJDLQ /XQD 9DQHJDV¶V ³HYLGHQFH´ FDQQRW ZLWKVWDQG WKH

DGPLWWHGO\EHQLJQ²EXWQRWWRRWKOHVV²VFUXWLQ\DSSOLFDEOHDWWKHFRQGLWLRQDOFHUWLILFDWLRQVWDJH



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                 6LJQHW¶V³3ROLF\´'RHV1RW9LRODWHWKH/DZDV$SSOLHGWRWKH&ROOHFWLYH

        $V ZLWK WKH UHTXLVLWH VKRZLQJ RI VLPLODULW\ 3ODLQWLII EHDUV WKH EXUGHQ RI SURIIHULQJ

³VRPHWKLQJEH\RQGPHUHVSHFXODWLRQ´WRHVWDEOLVK³DIDFWXDOQH[XVEHWZHHQWKHPDQQHULQZKLFK

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SURSRVHGFROOHFWLYHDFWLRQPHPEHUV´.LP:/DW  TXRWLQJ+DOOHY:HVW3HQQ

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RWKHUWKDQKLVRZQGHFODUDWLRQ3ODLQWLIIPXVW³OLYHE\WKHVZRUGGLHE\WKHVZRUG´ 7KHVDPH

SULQFLSOH DSSOLHV a fortiori WR 3ODLQWLII¶V DSSHDO WR WKH 6HYHQWK &LUFXLW²ZKLOH WKH KROGLQJ

XQGRXEWDEO\IDYRUHG3ODLQWLIIWKHUHDVRQLQJ GHVWUR\HGKLVEDVLVIRUFRQGLWLRQDOFHUWLILFDWLRQE\

VXEMHFWLQJWKHODZIXOQHVVRI6LJQHW¶VSROLF\WR³DIDFWLQWHQVLYHLQTXLU\´LQWRLWVDSSOLFDWLRQWRHDFK

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FHUWLILFDWLRQKLQJHVRQWKHEUHDGWKDQGDSSOLFDELOLW\RIKLVHYLGHQFH²LHKLVGHFODUDWLRQDQGWKH

6LJQHWMRERUGHUV)RUSXUSRVHVRIWKLVGLVSXWH6LJQHWFRQFHGHVWKDWWKHWHUPVRI+$MRERUGHUV

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WKDWFRQFHVVLRQPHUHO\RSHQVWKHGRRUWRWKHUHOHYDQWLQTXLU\ZKHWKHU³ERWK>3ODLQWLII@DQGWKH

SRWHQWLDOFODVVPHPEHUVZHUHYLFWLPVRIDFRPPRQSROLF\RUSODQWKDWYLRODWHGWKHODZ´&OHPHQWV

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HGXFHGIDFWVDVWRhow 6LJQHW¶VFRPPRQSROLF\violated the lawDVDSSOLHGQRWRQO\WRKLPVHOIEXW

WRpotential class membersWKLVLQTXLU\DOVRFORVHVWKHGRRUWRFRQGLWLRQDOFHUWLILFDWLRQ



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        8QGHU3ODLQWLII¶VFXUUHQWDOOHJDWLRQVDQGHYLGHQFHHVWDEOLVKLQJ³DIDFWXDOQH[XVEHWZHHQ

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DIIHFWHGWKHSURSRVHGFROOHFWLYHDFWLRQPHPEHUV´FDQQRWEHUHVROYHGRQDFROOHFWLYHEDVLV²DWOHDVW

QRW ZLWKRXW VXEVWDQWLDO PRUH IDFWVSHFLILF HYLGHQFH UHJDUGLQJ WKH SURVSHFWLYH FODVV .LP

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LQGLYLGXDOL]HGIDFWILQGLQJDERXWHDFKHPSOR\HH VMREUHVSRQVLELOLWLHVDQGWKHWDVNV´WKHSODLQWLII

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SRWHQWLDOFODVVPHPEHU´,G TXRWLQJ*RUVV0RWHOV,QFY%ULJDGRRQ)LWQHVV,QF)WK

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FLUFXPVWDQFHVEHFDXVHWKHSROLF\LVQRWIDFLDOO\XQODZIXOWKHLGHDWKDWWKHSROLF\PD\EHWKHVDPH

IRUDOOZRUNHUVLVQRWGLVSRVLWLYH7KHNH\LVWKHapplicationRIWKDWSROLF\WRHDFKZRUNHU RUDW

PLQLPXPHDFKMREVLWH ZKHWKHULWZDVLQIDFWDSSOLHGWRDOOZRUNHUVLQWKHH[DFWVDPHZD\DQG

WRZKDWH[WHQWWKHDSSOLFDWLRQWRHDFKZRUNHUZDVXQODZIXO&I%RHONY$7 77HOHKROGLQJV

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QXPHURXVKLJKO\IDFWVSHFLILFLQTXLULHVDVWRWKHUHDVRQZK\DWHFKQLFLDQZRUNHGGXULQJDOORUSDUW

RIKLVPHDOEUHDNRQDSDUWLFXODUGD\´ 




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   0RUHRYHUDV DSSOLHGWRZRUNHUVLQ VWDWHVZLWKLQWKH(LJKWK&LUFXLW6LJQHW¶VSROLF\ FRXOG EH
IRXQG IDFLDOO\ ODZIXO 6HH %LOOV Y &DFWXV )DP )DUPV //&  )WK   WK &LU  
  ILQGLQJDQDQDORJRXVSROLF\WREHODZIXOXQGHUWKH)/6$¶VVHFRQGDU\DJULFXOWXUDOH[HPSWLRQ 
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        3ODLQWLIIEHDUVWKHEXUGHQRISURRIRQWKLVLVVXHDQGKHKDVQRWGHYHORSHGDQ\HYLGHQFH

WKDWZRXOGVDWLVI\WKDWEXUGHQ$OWKRXJKKLVGHFODUDWLRQUHPDLQVVXEMHFWWRGLVSXWH/XQD9DQHJDV

DGPLWWHGO\DGGUHVVHVPDQ\LIQRWPRVWRIWKHUHOHYDQWLQTXLULHV²EXWKHRQO\VSHDNVRIKLPVHOI

'RF +LVGHFODUDWLRQLVEHUHIWRIDQ\FRQWHQWLRQVUHJDUGLQJRWKHUHPSOR\HHV,QGHHGJLYHQ

WKDW/XQD9DQHJDVKDVQRWZRUNHGDW6LJQHWVLQFHKHKDVQRILUVWKDQGNQRZOHGJHUHJDUGLQJ

WKH ZRUNLQJ FRQGLWLRQV RI RWKHU HPSOR\HHV²HVSHFLDOO\ QRW RWKHU HPSOR\HHV ZRUNLQJ DW

FRPSOHWHO\GLIIHUHQWMREVLWHVRULQGLIIHUHQWVWDWHV

        &RQWUDU\ WR 3ODLQWLII¶V VXJJHVWLRQV QRW HYHQ WKH 6HYHQWK &LUFXLW SDQHO DJUHHG WKDW WKH

SROLF\LWVHOILV faciallyXQODZIXO VXFKWKDWLWZRXOG UHVXOWLQ DOO+$ZRUNHUVEHLQJVLPLODUO\

VLWXDWHGDQGVXEMHFWWRWKHVDPH)/6$YLRODWLRQ ,QIDFW6LJQHWFRQWHQGVLWZDVIDFLDOO\ODZIXO

EHFDXVHDPRQJRWKHUWKLQJVLWZDVH[SUHVVO\DSSURYHGE\WKH'2/EHIRUHWKLVVXLWWKHUHZDVQR

FRQWURYHUV\ WKDW WKH )/6$¶V VHFRQGDU\ DJULFXOWXUDO H[HPSWLRQ DSSOLHG WR 6LJQHW¶V +$

ZRUNIRUFH$WPLQLPXPKRZHYHUWKHSROLF\PXVWEHDQDO\]HGas appliedWR/XQD9DQHJDVDQG

IRUFRQGLWLRQDOFHUWLILFDWLRQSXUSRVHVDVDSSOLHGWRPHPEHUVRIWKHSXWDWLYHFROOHFWLYH$QGKHUH

ZHDUHQRORQJHUDWWKHPRWLRQWRGLVPLVVVWDJHVR3ODLQWLII¶VXQYHULILHG&RPSODLQWLVQRWWDNHQDV

WUXH6HH6DOD]DU:/DW  ³$OO3ODLQWLIIVRIIHUWRVXSSRUWWKHLUµVLPLODUO\VLWXDWHG¶

DUJXPHQWDUHFRQWHVWHGDOOHJDWLRQVLQWKH&RPSODLQW%\WKHPVHOYHVWKHVHFRQWHVWHGDOOHJDWLRQV

DUHLQVXIILFLHQWWRVDWLVI\WKHPLQLPDOHYLGHQWLDU\EXUGHQIRUFRQGLWLRQDOFHUWLILFDWLRQ´ ,QVWHDG

3ODLQWLII¶V DOOHJDWLRQV RI D ³FODVVZLGH´ SROLF\ YLRODWLRQ PXVW EH ³supported by affidavits´ ,G

FLWDWLRQVRPLWWHG 



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  7KH (LJKWK &LUFXLW FRQFOXGHG D VLPLODU DUUDQJHPHQW DSSURSULDWHO\ IHOO ZLWKLQ WKH VHFRQGDU\
DJULFXOWXUDOH[HPSWLRQ%LOOV)WKDW FRQFOXGLQJWKDWORDGDVVHVVPHQWVZHUHRQWKHIDUP
SUDFWLFHV ³LQFLGHQW WR RU LQ FRQMXQFWLRQ ZLWK VXFK IDUPLQJ RSHUDWLRQV´ EHFDXVH WKH\ ³DUH DQ
DFFHSWHGSDUWRIPRGHUQSRUNSURGXFWLRQ´HYHQWKRXJK³DIDUPHUORDGLQJKLVRZQSLJVPD\QRW
KDYHQHHGHGVRPHRQHWRFRQGXFWORDGDVVHVVPHQWV´ 

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                 3XWDWLYH&ODVV0HPEHUV$UH1RW,QWHUHVWHGLQ-RLQLQJ7KLV/DZVXLW

        $V 6LJQHW SRLQWHG RXW LQ LWV $SULO   5HVSRQVH WR 3ODLQWLII¶V ILUVW 0RWLRQ IRU

&RQGLWLRQDO &HUWLILFDWLRQ ³3ODLQWLIIV VHHN DQ RUGHU FRQGLWLRQDOO\ FHUWLI\LQJ D FODVV RI 

LQGLYLGXDOV\HWWKH\KDYHVKRZQWKDWRQO\PHPEHUVRIWKLVSXWDWLYHFODVVDUHDFWXDOO\LQWHUHVWHG

LQMRLQLQJWKHVXLW´ 'RFS 6LQFHWKHQWKHRQO\QXPEHUWKDWKDVLQFUHDVHGLVWKHQXPEHU

RILQGLYLGXDOVWKDW3ODLQWLII LPSURSHUO\ VHHNVWRLQFOXGHLQWKHSXWDWLYHFODVV QRZH[SDQGHGWR

LQFOXGHDOO+$ZRUNHUVSOXV86ZRUNHUVLQFRUUHVSRQGLQJHPSOR\PHQWIURP-DQXDU\

WKURXJKLQVWHDGRIWKURXJK %XWWKHQXPEHURIHPSOR\HHVZLWKDGHPRQVWUDWHGLQWHUHVW

LQMRLQLQJWKHFDVHUHPDLQVWKHVDPHWZR

        'HVSLWHDYHUDJLQJIHZHUWKDQRQHRSWLQSHU\HDUVLQFHWKHFRPPHQFHPHQWRIWKLVDFWLRQ

3ODLQWLII QRZ UHTXHVWV FRXUWRUGHUHG QRWLFH IROORZHG E\ D VL[PRQWK RSWLQ SHULRG 7KDW

FRXQWHULQWXLWLYHUHTXHVWVKRXOGEHGHQLHGDVVKRXOGWKHUHVWRI3ODLQWLII¶V0RWLRQEHFDXVH3ODLQWLII

VWLOOKDVQRWVKRZQWKDWKLVSURSRVHGFROOHFWLYHDFWLRQLVDQ\WKLQJPRUHWKDQ³PHUHO\VSHFXODWLYH´

2 %U\DQ:/DW 

        *LYHQ WKH GHPRQVWUDEOH ODFN RI LQWHUHVW IURP 3ODLQWLII¶V SRWHQWLDO FROOHFWLYH 3ODLQWLII¶V

DFWLRQIDLOVWKHQXPHURVLW\UHTXLUHPHQWDQGVKRXOGLQVWHDGSURFHHGXQGHUMRLQGHU6HH2 %U\DQ

:/DW  DSSO\LQJ5XOHQXPHURVLW\UHTXLUHPHQWWR)/6$FROOHFWLYHDFWLRQ 

'H/HRQ:/DW  VDPH =HWWOHUY7KXUV7UXFNLQJ,QFFYMGSDW 

:' :LV $SU    ³>7@KLV FRXUW KDV SUHYLRXVO\ DSSOLHG D QXPHURVLW\ UHTXLUHPHQW LQ

)/6$FROOHFWLYHDFWLRQV´ 6HHDOVR+DGOH\Y-RXUQDO%URDGFDVW*URXS,QF:/



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 0RUHRYHUVLQFHMRLQLQJDVDQRSWLQSODLQWLIIWKHUHKDVEHHQRQO\VLOHQFHIURPRSWLQSODLQWLII
*DUFLD*RQ]DOH]²QRGHFODUDWLRQVDQGQRHYLGHQFHWKDWKHHYHUVKDUHGZRUNLQJFRQGLWLRQVZLWK
/XQD9DQHJDV3HUKDSVWKHLUSULPDU\VLPLODULW\LVWKDWQHLWKHURIWKHPKDYHZRUNHGIRU'HIHQGDQW
VLQFH  'RF  DW   'HVSLWH WKLV FRQVSLFXRXV VLOHQFH WKHUH LV D PRWLRQ IRU *DUFLD
*RQ]DOH]WREHDGGHGDVDSDUW\SODLQWLII

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     (':LV)HE  REVHUYLQJWKDW³DGHPRQVWUDEOHODFNRILQWHUHVWLQDFROOHFWLYHDFWLRQ

LVDVWULNHDJDLQVWFHUWLILFDWLRQ´ 

          ³$UXOHRIWKXPELQWKH6HYHQWK&LUFXLWLVWKDWDSURSRVHGFODVVRIJUHDWHUWKDQVDWLVILHV

WKH QXPHURVLW\ UHTXLUHPHQW´ 2 %U\DQ  :/  DW  FLWLQJ $QGHUVRQ Y :HLQHUW

(QWHUV)G WK&LU $WWKHVDPHWLPH³DFODVVRIRUPRUHGRHVQRW

JXDUDQWHHQXPHURVLW\´,G

          ,QWKLVFDVHRQO\WZRLQGLYLGXDOV LQFOXGLQJ/XQD9DQHJDV KDYHRSWHGLQDQGQRQHLQWKH

SDVWPRQWKV3ODLQWLIIGRHVQRWH[SODLQZK\KLVUHFUXLWPHQWHIIRUWVKDYHSURYHQIXWLOH,QDQ\

HYHQW WKLV ODFN RI LQWHUHVW VXJJHVWV WKDW 3ODLQWLII ZLOO IDOO ZHOO VKRUW RI WKH ZRUNHU ³UXOH RI

WKXPE´SUHUHTXLVLWHWRFHUWLILFDWLRQ6HH'H/HRQ:/DW  UHFRJQL]LQJWKDWZKHQ

³RQO\WKUHHHPSOR\HHVRWKHUWKDQ>WKHQDPHGSODLQWLII@KDYHFRQVHQWHGWRMRLQWKH)/6$FODLP´

VXFK³ZHDN´LQWHUHVWLQMRLQLQJWKHDFWLRQ³VXJJHVW>V@WKDWWKHDFWXDOQXPEHURIFODVVPHPEHUVPD\

EH VLJQLILFDQWO\ IHZHU WKDQ ´  ,Q IDFW ZKHQ SURSHUO\ OLPLWLQJ WKH FROOHFWLYH WR :LVFRQVLQ

HPSOR\HHV DQG DFFRXQWLQJ IRU WKH VWDWXWH RI OLPLWDWLRQV WKH WRWDO QXPEHU RI SRWHQWLDO RSWLQ

SODLQWLIIVVKULQNVWRIHZHUWKDQ

          7KH VKHHU ODFN RI DFWLYLW\ IURP HYHQ WKH FXUUHQW SODLQWLIIV /XQD 9DQHJDV DQG *DUFLD

*RQ]DOH] FRXSOHGZLWKWKHRQJRLQJVWDJQDQF\RIWKHFROOHFWLYHGRQRWVXSSRUWLQJDFRQGLWLRQDO

FHUWLILFDWLRQILQGLQJDWWKLVVWDJHLQOLWLJDWLRQ*LYHQWKHFRXQWHUYDLOLQJSROLF\FRQFHUQVLQFOXGLQJ

³&RQJUHVV¶VH[SUHVVHGFRQFHUQIRUWKHILQDQFLDOEXUGHQ>FRQGLWLRQDOFHUWLILFDWLRQ@PD\LPSRVH´

WKH &RXUW VKRXOG UHTXLUH 3ODLQWLII WR GHPRQVWUDWH D PRGLFXP RI LQWHUHVW IURP SXWDWLYH RSWLQV

EHIRUHRUGHULQJQRWLFHWRDQ\6LJQHWHPSOR\HHV$GDLU:/DW 





6HH([KLELW$'HFODUDWLRQRI1DWDOLH)DUPHU,QWKHODVWWZR\HDUV6LJQHWHPSOR\HG+$
ZRUNHUVLQ:LVFRQVLQ

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                  /XQD9DQHJDV'RHV1RW$GHTXDWHO\5HSUHVHQWWKH3URSRVHG&ROOHFWLYH

        :KHQDSURSRVHGFODVVRUFROOHFWLYHDFWLRQLQFOXGHVDGHIHQGDQW¶VFXUUHQWHPSOR\HHVWKH

QDPHGSODLQWLIIVDQGFODVVUHSUHVHQWDWLYHVVKRXOGEHFXUUHQWHPSOR\HHV6RGHNVRQY(&RDVW5HVW

  1LJKWFOXEV//&1R&95%+:/DW  '6&6HSW 

GHQ\LQJFRQGLWLRQDOFHUWLILFDWLRQEHFDXVHWKHQDPHGSODLQWLII³ZDVQRWDQHPSOR\HHGXULQJWKH

PDMRULW\RIWKHWLPHIUDPHRIRWKHUSRWHQWLDOSODLQWLIIVVKHVHHNVWRUHSUHVHQW´UHDVRQLQJWKDW³LWLV

GLIILFXOW IRU WKLV &RXUW WR DFFHSW WKDW VKH LV µVLPLODUO\ VLWXDWHG¶ WR WKH LQGLYLGXDOV VKH VHHNV WR

UHSUHVHQWEHFDXVHKHUFODLPIRUGDPDJHVLVOLPLWHGWRVXFKDVKRUWWLPHSHULRGDQGVKHQRORQJHU

ZRUNHGIRU'HIHQGDQWVGXULQJWKHUHOHYDQWWLPHSHULRGIRUWKHLQFOXVLRQRIWKHSURSRVHGFODVV´ 

        +HUHQRWRQO\KDV/XQD9DQHJDVQRWZRUNHGIRU6LJQHWGXULQJWKHVDPHWLPHIUDPHDVWKH

SRWHQWLDOSODLQWLIIVKHVHHNVWRUHSUHVHQWEXWKHLQIDFWZRXOGQRW HYHQTXDOLI\IRUWKHSXWDWLYH

FROOHFWLYH KDG KH QRW ILOHG DQ RSWLQ QRWLFH RYHU WZR \HDUV DJR 6HH  &)5   E  

GHVFULELQJWKHGLVSDUDWHVWDWXWHRIOLPLWDWLRQSHULRGIRUQDPHGSODLQWLIIVDQGVXEVHTXHQWRSWLQ

SODLQWLIIV 1RWZLWKVWDQGLQJ3ODLQWLII¶VLPSURSHUDWWHPSWWRSURSRVHDFROOHFWLYHFRYHULQJDIRXU

\HDUSHULRGWKHRQO\LQGLYLGXDOVHOLJLEOHWRRSWLQWRWKLVVXLWPXVWKDYHEHHQHPSOR\HGE\6LJQHW

GXULQJ WKH SDVW WZR RU DW PRVW WKUHH  \HDUV 1HLWKHU /XQD 9DQHJDV QRU RSWLQ DQG SURSRVHG

SDUW\ 3ODLQWLII*DUFLD*RQ]DOH]ZRUNHGIRU6LJQHWGXULQJWKLVWLPHIUDPH 'RFDW &I

=HOHQLNDY&RPPRQZHDOWK(GLVRQ&R1R&DW  1',OO-XO\  ³/RRNLQJ

WR WKH UXOHV JRYHUQLQJ FODVV DFWLRQV IRU JXLGDQFH DOORZLQJ WKH 1DPHG 3ODLQWLIIV WR FRQWLQXH

UHSUHVHQWLQJWKH2SW,Q3ODLQWLIIVRQFODLPVIRUZKLFKWKH1DPHG3ODLQWLIIV¶VWDWXWHRIOLPLWDWLRQV

KDVUXQZRXOGYLRODWHWKHW\SLFDOLW\DQGDGHTXDF\RIUHSUHVHQWDWLRQSUHUHTXLVLWHVWRVD\QRWKLQJ

RI$UWLFOH,,,VWDQGLQJ´ 




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        8QGHU WKHVH FLUFXPVWDQFHV D QDPHG SODLQWLII PXVW W\SLFDOO\ RYHUFRPH WKLV QRQ

RYHUODSSLQJ SHULRG RI HPSOR\PHQW ZLWK FODVV PHPEHUV E\ HGXFLQJ HYLGHQFH WKDW FXUUHQW

HPSOR\HHVODERUXQGHUWKHVDPHFRQGLWLRQVWKDWH[LVWHGGXULQJKLVHPSOR\PHQW6HHHJ5REHUWV

Y :HOGLQJ  ) 6XSS G   1' 7H[   ³>:@LWKRXW SHUVRQDO NQRZOHGJH RI

'HIHQGDQWV FRPSHQVDWLRQSROLFLHVDIWHUKHOHIW5REHUWVFDQQRWFODLPWREHVLPLODUO\VLWXDWHGWR

DQ\ LQGLYLGXDOV ZKR GLG QRW ZRUN IRU 'HIHQGDQWV GXULQJ WKH WLPH WKDW 5REHUWV GLG´  'HVSLWH

EHDULQJWKHEXUGHQRISURRI/XQD9DQHJDVDQGRSWLQ3ODLQWLII*DUFLD*RQ]DOH]UHPDLQPXPRQ

WKLVSRLQWOHDYLQJWKLV&RXUWWRVSHFXODWHRQWKHVFRSHRIWKHLUSXUSRUWHGVLPLODULW\ZLWKFXUUHQW

6LJQHWHPSOR\HHVDQGFRQVHTXHQWO\RQWKHDGHTXDF\RIWKHLUUHSUHVHQWDWLRQ

        /DVWO\WKHQRYHOOHJDOWKHRULHVDGYDQFHGE\3ODLQWLIILQWKLVDFWLRQSUHVHQWDQDGGLWLRQDO

DQG XQLTXH FRPSOH[LW\ WR WKH DGHTXDF\ RI UHSUHVHQWDWLRQ DQDO\VLV %HFDXVH QHLWKHU 3ODLQWLII

UHPDLQVHPSOR\HGE\6LJQHWDQGQHLWKHUKDVVLJQDOHGDQ\LQWHQWWRUHDSSO\WRZRUNIRU6LJQHW

XQGHUWKH+$SURJUDPWKH\GRQRWKDYHDQ\³VNLQLQWKHJDPH´:KLOHDQ\RSWLQSODLQWLIIPD\

UHDVRQDEO\KDYHDQLQWHUHVWLQREWDLQLQJPRQHWDU\UHFRYHU\IURP6LJQHWWKHSDWKFKRVHQE\/XQD

9DQHJDV GLYHUJHV IURP WKH LQWHUHVWV RI FXUUHQW 6LJQHW +$ ZRUNHUV ZKR PXVW UHFNRQ ZLWK

VLJQLILFDQWFRXQWHUYDLOLQJLQWHUHVWV3ODLQWLII¶VODZVXLWSXWVWKH)/6$RQDFROOLVLRQFRXUVHZLWK

WKH +$ YLVD SURJUDP DQG HQGDQJHUV WKH DELOLW\ RI WKRXVDQGV RI ZRUNHUV WR EHQHILW IURP WKDW

SURJUDP 'RFSS ,IDV/XQD9DQHJDVDVVHUWVKLVIHOORZZRUNHUVGRQRWTXDOLI\

IRUWKH)/6$¶V6HFWLRQ E  DJULFXOWXUDOH[HPSWLRQWKH\PD\EHHQWLWOHGWRVRPHEDFNSD\

EXW WKH\ PD\ DOVR ORVH TXDOLILFDWLRQ IRU WKH +$ DJULFXOWXUDO ZRUNHU YLVD SURJUDP DOWRJHWKHU

,QGHHGWKLVSRWHQWLDORXWFRPHPD\EHWKHEHVWH[SODQDWLRQIRUWKHQHDUFRPSOHWHODFNRILQWHUHVW

LQMRLQLQJWKLVODZVXLWE\WKHSXWDWLYHFODVVPHPEHUV




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       7REHVXUHOLNHDQ\OLWLJDQW3ODLQWLIIKDVWKHULJKWWRSXUVXHDQ\FODLPVDQGOHJDOWKHRULHV

WKDWFRXUWVZLOODFFHSW%XWZKHQVXFKFODLPVHQGDQJHUDURXWHIRUODZIXOHPSOR\PHQWWKDWKDV

EHQHILWHGQXPHURXVIRUHLJQJXHVWZRUNHUVDQG86IDUPHUV3ODLQWLII²ZKRLVQRORQJHUDQ+$

JXHVWZRUNHUDWOHDVWQRWIRU6LJQHW²GRHVQRWDGHTXDWHO\UHSUHVHQWWKHLQWHUHVWVRIFXUUHQW+$

DJULFXOWXUDOZRUNHUVZKRPD\QRWEHVRVKRUWVLJKWHG

           & 3HUVRQDO-XULVGLFWLRQ0XVW([LVWIRUWKH&ODLPRI(DFK2SW,Q

       3ODLQWLII WKH PDVWHU RI KLV &RPSODLQW FRXOG KDYH EURXJKW WKLV VXLW LQ 7H[DV DQG KDG

XQEULGOHGGLVFUHWLRQWRDVVHUWDQ\FRJQL]DEOHFODLPE\DQ\MRLQHGRURSWHGLQSDUW\DJDLQVW6LJQHW

$OWKRXJK6LJQHWLV³DWKRPH´LQ7H[DVDQGWKXV VXEMHFWWRJHQHUDOSHUVRQDOMXULVGLFWLRQLQWKDW

VWDWHILOLQJVXLWDJDLQVW6LJQHWLQ:LVFRQVLQUHTXLUHVVSHFLILFMXULVGLFWLRQRYHUWKHFODLPVRIDQ\

LQGLYLGXDOVHHNLQJWRMRLQWKHFDVHZKLFK³LVFRQILQHGWRDGMXGLFDWLRQRILVVXHVGHULYLQJIURPRU

FRQQHFWHGZLWKWKHYHU\FRQWURYHUV\WKDWHVWDEOLVKHVMXULVGLFWLRQ´%ULVWRO0\HUV6TXLEE&RY

6XSHULRU &W RI &DOLIRUQLD 6DQ )UDQFLVFR &QW\  86     >KHUHLQDIWHU %06@

TXRWLQJ*RRG\HDU'XQORS7LUHV2SHUDWLRQV6$Y%URZQ86  

       'HIHQGDQW UHDGLO\ DGPLWV WKDW /XQD 9DQHJDV VDWLVILHV SHUVRQDO MXULVGLFWLRQ EHFDXVH KH

ZRUNHGIRU6LJQHWLQ:LVFRQVLQDQGKLVFODLPVVWHPIURP6LJQHW¶VUHODWHGFRQWDFWVWR:LVFRQVLQ

1RWVRKRZHYHUIRUDQ\SXWDWLYHFODVVPHPEHUZKRQHYHUSHUIRUPHGDQ\ZRUNLQ:LVFRQVLQIRU

6LJQHW%HFDXVHVSHFLILFSHUVRQDOMXULVGLFWLRQLQYROYHVDFODLPE\FODLPDQDO\VLVWKHVHSURSRVHG

QRQ:LVFRQVLQSODLQWLIIVZRXOGQHHGWREULQJWKHLUFODLPVLQWKHVWDWHVZKHUHWKHLUDOOHJHGLQMXULHV

DURVHRULQ7H[DV

       6LQFH WKH SDUWLHV RULJLQDOO\ EULHIHG WKH FRQGLWLRQDO FHUWLILFDWLRQ LVVXH LQ HDUO\  D

PDMRULW\YLHZDVWRWKHDSSOLFDWLRQRI%06WR)/6$FROOHFWLYHDFWLRQVKDVFOHDUO\HPHUJHG,QWKH

LQWHUYHQLQJ WZR \HDUV WKH 7KLUG 6L[WK DQG (LJKWK &LUFXLWV KDYH KHOG WKDW ZKHUH JHQHUDO



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MXULVGLFWLRQ RYHU D GHIHQGDQW GRHV QRW H[LVW WKH IRUXP FRXUW PXVW KDYH VSHFLILF SHUVRQDO

MXULVGLFWLRQRYHUWKHFODLPVRI)/6$RSWLQSODLQWLIIV LHVXFKLQGLYLGXDOVPXVWKDYHZRUNHGIRU

WKHGHIHQGDQWHPSOR\HULQWKHIRUXPVWDWH )LVFKHUY)HG([SUHVV&RUS)WK G&LU

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DOWKRXJKRQVOLJKWO\GLIIHUHQWJURXQGV:DWHUVY'D\ =LPPHUPDQQ136,QF)WK VW

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        :LWKLQWKH6HYHQWK&LUFXLWDXWKRULW\LVVOLPEXWWKHWUHQGIDYRUVXQLIRUPLW\GLVWULFWFRXUWV

KDYHODUJHO\DJUHHGZLWKWKHPDMRULW\YLHZ6HH3DUNHUY,$6/RJLVWLFV')://&1R&

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,DQQRWWLY:RRG*US0XVWDQJ)6XSSG 6',OO  GHFOLQLQJWRGHILQLWHO\

UXOHRQWKHLVVXHEXW³REVHUY>LQJ@WKDWWKHDQDO\VLVVHWIRUWKE\WKH6L[WKDQG(LJKWK&LUFXLWVRQ

WKLVLVVXHDUHPRUHSHUVXDVLYH´ 

        2QHRIWKHIHZFRXUWVZLWKLQWKLV&LUFXLWWRDGGUHVVWKHVHLVVXHVGLUHFWO\UHMHFWHGRQHRI

3ODLQWLII¶VFHQWUDOWKHRULHVLQYROYLQJWKHDSSOLFDELOLW\RI5XOHSHUVRQDOMXULVGLFWLRQSULQFLSOHVWR

)/6$FROOHFWLYHDFWLRQV$OWKRXJK3ODLQWLIIUHSHDWHGO\FLWHVWR0XVVDWY,49,$,QF)G

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    7KH (LJKWK &LUFXLW¶V KROGLQJ LV SDUWLFXODUO\ QRWDEOH JLYHQ WKDW PDQ\ RI WKH SXWDWLYH FODVV
PHPEHUVZRUNHGIRU6LJQHWLQVWDWHVZLWKLQWKDW&LUFXLW 'RFSS ,IWKLVFDVHKDGEHHQ
ILOHGLQ,RZDIRUH[DPSOH6LJQHW¶V:LVFRQVLQEDVHGHPSOR\HHVZRXOGQRWEHSHUPLWWHGWRMRLQ
WKHFROOHFWLYH0RUHRYHU6LJQHW¶VRYHUWLPHSD\SUDFWLFHVZRXOGEHKHOGODZIXOE\DOOFRXUWVZLWKLQ
WKH(LJKWK&LUFXLWXQGHU%LOOVY&DFWXV)DP)DUPV//&)WK WK&LU 
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    7KH )LUVW &LUFXLW DFWXDOO\ UXOHG RQ VOLJKWO\ PRUH QXDQFHG SUHGLFDWH TXHVWLRQ ZKHWKHU WKH
)RXUWHHQWK$PHQGPHQWDQG5XOH N DSSO\WRRSWLQ)/6$SODLQWLIIVZKRMRLQDVXLWLQIHGHUDO
FRXUWDIWHUWKHGHIHQGDQWLVLQLWLDOO\VHUYHG5HJDUGOHVVWKHRXWOLHU)LUVW&LUFXLWPD\VRRQUHYHUVH
LWVHOIDVWKHRQO\SUHVHQWO\DFWLYH)LUVW&LUFXLWMXGJHIURPWKHSDQHOGLVVHQWHGDQGDJUHHGZLWKWKH
UHDVRQLQJRI7KLUG6L[WKDQG(LJKWK&LUFXLWV

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FRXUWVSHFLILFDOO\GLVWLQJXLVKHGWKHFDVHEHIRUHLWIURP>%06@RQWKHJURXQGWKDW5XOHQDPHG

SODLQWLIIVDFWLQDUHSUHVHQWDWLYHFDSDFLW\WRXQQDPHGFODVVPHPEHUVDQGDUHWKHUHIRUHWKHRQO\

SDUWLHVUHOHYDQWWRWKHSHUVRQDOMXULVGLFWLRQDQDO\VLV´3DUNHUY,$6/RJLVWLFV')://&1R

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DQGFODVVDFWLRQVPD\KDYHVLPLODUVWDQGDUGVIRUFHUWLILFDWLRQGRHVQRWPHDQWKH\DUHWKHVDPHIRU

RWKHUSXUSRVHV DV WKH6XSUHPH&RXUWKDVQRWHG5XOHDFWLRQVDUH µIXQGDPHQWDOO\GLIIHUHQW¶

IURPFROOHFWLYHDFWLRQVXQGHUWKH)/6$´,G TXRWLQJ*HQHVLV+HDOWKFDUH&RUSY6\PF]\N

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        7RWKHH[WHQWWKLV&RXUWFRQGLWLRQDOO\FHUWLILHVDFROOHFWLYHDFWLRQWKLV&RXUWVKRXOGDGKHUH

WR WKH PDMRULW\ YLHZ DSSO\ WKH 6XSUHPH &RXUW¶V JXLGDQFH IURP %06 DQG KROG WKDW VSHFLILF

SHUVRQDOMXULVGLFWLRQPXVWH[LVWDVWRWKHFODLPVRIRXWRIVWDWHRSWLQSODLQWLIIV

        $SSO\LQJ%06WR)/6$FROOHFWLYHDFWLRQVFDQEHGLVWLOOHGLQWRWKUHHORJLFDOVWHSV)LUVW

ZKHQDIHGHUDOVWDWXWHVXFKDVWKH)/6$GRHVQRWDXWKRUL]HQDWLRQZLGHVHUYLFHRISURFHVVWKH

VFRSHRIDFRXUW¶VSHUVRQDOMXULVGLFWLRQLVJRYHUQHGE\WKHVWDWH¶VORQJDUPVWDWXWHSXUVXDQWWR)HG

5 &LY 3 5XOH  ZKLFK LQ PRVW VWDWHV LQFOXGLQJ :LVFRQVLQ LQ WXUQ LPSRUWV WKH )RXUWHHQWK

$PHQGPHQW¶VGXHSURFHVVSURWHFWLRQV2PQL&DS,QW O/WGY5XGROI:ROII &R86

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QDWLRQZLGH VHUYLFH RI SURFHVV VR ZH ILUVW ORRN WR WKH IRUXP 6WDWH V ORQJDUP VWDWXWH´  *ORE

,PDJLQJ$FTXLVLWLRQV*US//&Y5XEHQVWHLQ)6XSSG (':LV  ³7KH

:LVFRQVLQ ORQJDUP VWDWXWH JRYHUQLQJ VHUYLFH RI SURFHVV KDV EHHQ LQWHUSUHWHG WR FRQIHU

MXULVGLFWLRQWRWKHOLPLWVRIGXHSURFHVVDQGWKXVFRXUWVXVXDOO\IRFXVRQO\RQZKHWKHUGXHSURFHVV

DXWKRUL]HVSHUVRQDOMXULVGLFWLRQ>@´ 




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        6HFRQG³>S@HUVRQDOMXULVGLFWLRQPXVWEHGHWHUPLQHGRQDFODLPE\FODLPEDVLV´9DOORQH

)WKDWDQG³>L@QRUGHUIRUDFRXUWWRH[HUFLVHVSHFLILFMXULVGLFWLRQRYHUDFODLPWKHUHPXVW

EH DQ DIILOLDWLRQ EHWZHHQ WKH IRUXP DQG WKH XQGHUO\LQJ FRQWURYHUV\´ %06  86 DW 

FOHDQHGXS 

        $QGWKLUGFULWLFDOO\EHFDXVHXQOLNHLQ5XOHFODVVDFWLRQVHDFK)/6$RSWLQSODLQWLIILV

D UHDO SDUW\ LQ LQWHUHVW EULQJLQJ KLV RZQ FODLP HDFK RI WKRVH FODLPV PXVW VDWLVI\ SHUVRQDO

MXULVGLFWLRQDQGWKXVPXVWLQGHSHQGHQWO\UHODWHWRWKHIRUXP0F1XWWY6ZLIW7UDQVSRUWDWLRQ&R

RI $UL]RQD //& 1R & %+6  :/  DW  :' :DVK -XO\   

UHFRJQL]LQJWKDW³86& E LVDUXOHRIMRLQGHUJLYLQJOHJDOVWDWXVWRLQGLYLGXDORSWLQ

SODLQWLIIV´  3DUNHU  :/  DW  UHFRJQL]LQJ WKDW ³WKH )/6$¶V H[SUHVV ODQJXDJH

UHIHUVWRLQGLYLGXDOVZKRRSWLQDVµSDUWLHV¶´ 

        7DNHQ WRJHWKHU WKHVH SULQFLSOHV VXSSRUW WKH UXOH WKDW ³SHUVRQDO MXULVGLFWLRQ RYHU WKH

GHIHQGDQWPXVWH[LVWDVWRHDFKRSWLQ´3DUNHU:/DW ,QGHHG³LWLVGLIILFXOWWR

FRPHWRDGLIIHUHQWFRQFOXVLRQJLYHQWKHODQJXDJHLQ>%06@ZKLFKLVUHSHDWHGWZLFHLQWKHRSLQLRQ

WR WKH HIIHFW WKDW IRU HDFK SODLQWLII WKHUH PXVW EH DQ DIILOLDWLRQ EHWZHHQ WKH IRUXP DQG WKH

XQGHUO\LQJFRQWURYHUV\SULQFLSDOO\DQDFWLYLW\RURFFXUUHQFHWKDWWDNHVSODFHLQWKHIRUXP6WDWH´

,G TXRWDWLRQVRPLWWHG 

            ' 7KH3URSRVHG1RWLFH)RUPDQG3URFHVV$UH,PSURSHUDQG)ODZHG
        $WWKHRQVHW3ODLQWLIIGHYRWHVDVXEVWDQWLDODPRXQWRIKLVEULHIWRKRSLQJWKDWWKH6XSUHPH

&RXUW LPPLQHQWO\ GHFLGHV WKH GHYHORSLQJ SHUVRQDO MXULVGLFWLRQ LVVXHV 7KH 6XSUHPH &RXUW

KRZHYHUDFWXDOO\UHFHQWO\GHFOLQHGWRWDNHXSWKHPDWWHU)LVFKHUY)HG([SUHVV&RUS1R

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        7KXV3ODLQWLII¶V³FRPSHOOLQJUHDVRQ´IRUUHTXHVWLQJPDVVGLVWULEXWLRQQDWLRQZLGHQRWLFHV

QRORQJHUDSSOLHV 'RFS ,QWHUHVWLQJO\PXFKRI3ODLQWLII¶VUHDVRQLQJDFWXDOO\FRXQVHOV

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DJDLQVWSUHHPSWLYHLVVXDQFHRIQRWLFH)RULQVWDQFH3ODLQWLII¶VVHQGILUVWDVNODWHUDSSURDFKZRXOG

UHVXOWLQLQGLYLGXDOVlegally ineligibleIRUWKHFROOHFWLYHUHFHLYLQJQRWLFH$OWKRXJKWKHWLPHSHULRG

EHWZHHQ FRQGLWLRQDO FHUWLILFDWLRQ DQG ILQDO FHUWLILFDWLRQGHFHUWLILFDWLRQ PD\ DOORZ WKH SDUWLHV WR

GHYHORSDGGLWLRQDOfactsUHOHYDQWWRWKHDSSURSULDWHVFRSHRIWKHFODVVWKHVDPHXQGHUO\LQJSROLFLHV

GRQRWDSSO\WRGHWHUPLQDWLRQVRISXUHO\OHJDOLVVXHV:LWKWKHODWWHUWKHRXWFRPHZLOOGHSHQGRQ

WKHSDUWLHV¶EULHIVDQGWKH&RXUW¶VGHFLVLRQQRWKLQJHGXFHGIURPDGGLWLRQDORSWLQSODLQWLIIVZRXOG

EHUHOHYDQW&I:\QQ:/DW  ³6HQGLQJFRXUWDSSURYHGQRWLFHWRLQGLYLGXDOV

ZKRDUHQRWPHPEHUVRIDSURSRVHGFODVVJLYHVWKHLPSUHVVLRQWKDWWKHFRXUWLVVHHNLQJWRVWLUXS

OLWLJDWLRQ DQG KDV DEDQGRQHG MXGLFLDO QHXWUDOLW\ DQ HYLO WKH 6XSUHPH &RXUW H[SOLFLWO\ ZDUQHG

DJDLQVWLQ+RIIPDQ±/D5RFKH´ 8QGHUDQDOWHUQDWLYHWLPHOLQH³ERWKWKHFRXUWDQGOLWLJDQWVZRXOG

ZDVWHWLPHDQGUHVRXUFHVWRQRWLI\DQGSRWHQWLDOO\RYHUO\ODUJHDQGGLYHUVHFODVV´,G

        :KLOH3ODLQWLIIFRQWHQGVZLWKRXWFLWDWLRQWKDWUXEEHUVWDPSLQJKLVSURSRVHGQDWLRQZLGH

DQG WLPHEDUUHG  QRWLFH ZLWKRXW FRQVLGHULQJ SHUVRQDO MXULVGLFWLRQ ³ZLOO LQ QR ZD\ KDUP

'HIHQGDQW>@´ 'HIHQGDQW GLVDJUHHV $QG VR GR :LVFRQVLQ FRXUWV ³WKH 6HYHQWK &LUFXLW KDV

REVHUYHG WKDW D SODLQWLII V GLVFRYHU\ GHPDQGV XSRQ FRQGLWLRQDO FHUWLILFDWLRQ PD\ LPSRVH µD

WUHPHQGRXVILQDQFLDOEXUGHQWRWKHHPSOR\HU¶´$GDLU:/DW  TXRWLQJ:RRGV

 )G DW   ,QGHHG IDU IURP KDUPOHVV 3ODLQWLII¶V SODQ ZRXOG UHTXLUH WKDW ³GLVFRYHU\ LV

H[SDQGHGWRFODVVZLGHSROLFLHVDQGSUDFWLFHV´LQVWHDGRI³OLPLWHGWRWKHH[SHULHQFHRILQGLYLGXDO

SODLQWLIIV´ $GDLU  :/  DW  6LPLODUO\ PDQDJLQJ WKH FRQGLWLRQDO FHUWLILFDWLRQ

SURFHVVZLOOFHUWDLQO\VWUDLQWKH&RXUW¶VUHVRXUFHVLQFOXGLQJSRWHQWLDOQHHGIRUDGGLWLRQDOEULHILQJ

RQWKHVSHFLILFVRIWKHQRWLFH-XVWDV3ODLQWLIIDVVXPHVKLV0RWLRQWR$PHQGWKH&RPSODLQWZLOO

EH JUDQWHG E\ FRQVSLFXRXVO\ UHIHUULQJ WR ³'HIHQGDQWV´ SOXUDO  WKURXJKRXW KLV EULHI 3ODLQWLII

LPSURSHUO\H[SHFWVWKH&RXUWWRLVVXHKLVQRWLFHZLWKQRVFUXWLQ\



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          7KHUHDOLW\LVWKDW3ODLQWLIIKDVKDGPRUHWKDQWZR\HDUVWRVHQGKRZHYHUPDQ\QRWLFHVKH

ZDQWVWRDOOSXWDWLYHRSWLQSODLQWLIIV6HH$Q\HUH:/DW  ³>$@DSODLQWLIILQDQ

)/6$ FROOHFWLYH DFWLRQ LV QRW UHTXLUHG WR VHHN OHDYH RI WKH FRXUW SULRU WR LVVXLQJ QRWLFH RI WKH

ODZVXLWWRSURVSHFWLYHPHPEHUV´ $FWXDOO\3ODLQWLII¶VULJKWWRVHQGKLVRZQQRWLFHVUHSUHVHQWV

RQHRIWKHIHZDVSHFWVRIDFROOHFWLYHDFWLRQZKHUHWKH&RXUW¶VGLVFUHWLRQKDVEHHQFXUWDLOHG,G

    ³7KH6HYHQWK&LUFXLWKDVGHWHUPLQHGWKDWDGLVWULFWFRXUWPD\QRWSURKLELWDSODLQWLIIIURPVHQGLQJ

QRWLFHDOWRJHWKHU´ 3HUKDSVGXHWRWKHGLYHUJHQWLQWHUHVWVGLVFXVVHGDERYHEHWZHHQ3ODLQWLIIDQG

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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


 JOSE AGEO LUNA VANEGAS,
 on behalf of himself and all others similarly situated,

                              Plaintiff,                         OPINION and ORDER
        v.
                                                                       21-cv-54-jdp
 SIGNET BUILDERS, INC.,

                              Defendant.


       Plaintiff Jose Aego Luna Vanegas alleges that defendant Signet Builders, Inc., violated

his rights under the Fair Labor Standards Act by failing to pay him overtime for construction

work that he performed on farms. Two matters are before the court. First, Luna Vanegas asks

to amend his complaint to add a new plaintiff and new claims and defendants. Dkt. 92. Second,

Luna Vanegas has renewed his motion for conditional certification of an FLSA collective of

Signet employees who worked on “agricultural construction projects.” Dkt. 83. He also asks

the court to approve notice to the collective. Id. Signet raises a host of objections to both

motions.

       The court will grant Luna Vanegas’s motions. Luna Vanegas’s amended complaint states

plausible claims for relief, and he has made the modest showing necessary to conditionally

certify the collective. Signet’s arguments in opposition to the motions are based on affirmative

defenses and disputed facts. These are premature; the issues Signet identifies will be resolved

later in the litigation. The court will accept Luna Vanegas’s amended complaint and

conditionally certify the collective. Luna Vanegas’s proposed notice will be approved, with

adjustments to improve accuracy and clarity.




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                                       BACKGROUND

       Plaintiff Jose Ageo Luna Vanegas filed this lawsuit in January 2021. Luna Vanegas is a

citizen of Mexico. Vanegas alleged that between 2004 and 2019, he worked for Signet under

an H-2A guestworker visa, which allows citizens of other countries to perform agricultural work

in the United States on a temporary basis. Signet is a construction company that contracted

to build “livestock confinement structures” on farms in Wisconsin, Iowa, Indiana, and other

states. Dkt. 1, ¶ 16. Vanegas frequently worked more than 40 hours per week, but Signet did

not pay him overtime wages. Vanegas contended that Signet’s failure to pay him overtime

violated his rights under the Fair Labor Standards Act (FLSA), which requires employers to

pay workers at a rate of at least one and one-half times their regular rate of pay for each hour

they work beyond 40 in a workweek. 29 U.S.C. § 207(a)(1). Vanegas moved for conditional

certification of an FLSA collective of Signet workers who worked under a guestworker visa.

Dkt. 15.

       Signet moved to dismiss the complaint under Federal Rule of Civil Procedure 12(b)(6)

for failure to state a claim. Signet based its motion on the affirmative defense that Luna

Vanegas’s work, as described in the complaint, fell under the FLSA’s exemption for

“employee[s] employed in agriculture.” 29 U.S.C. § 213(b)(12). The court agreed with Signet

that Luna Vanegas’s allegations showed that his work was incidental to the agricultural activity

of raising livestock, so his work fell within the agricultural exemption. Dkt. 52. The court

denied Luna Vanegas’s motion for conditional certification of an FLSA collective as moot and

dismissed the case.

       Luna Vanegas successfully appealed. The court of appeals concluded that the allegations

in the complaint did not conclusively establish that Luna Vanegas’s work fell within the


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agricultural exemption, so Signet was not entitled to dismissal on that ground at the pleading

stage. Vanegas v. Signet Builders, Inc., 46 F.4th 636, 645 (7th Cir. 2022). Signet filed a petition

for rehearing and rehearing en banc, but the court of appeals denied the petition.

       The case was remanded to this court in October 2022. Luna Vanegas has since filed two

motions: (1) a motion to amend his complaint to add a new plaintiff, new defendants, and new

claims; and (2) a renewed motion for conditional certification of an FLSA collective.



                                           ANALYSIS

A. Motion to amend complaint

       Luna Vanegas asks to amend his complaint to: (1) add Jose Luis Garcia Gonzalez as a

named plaintiff; (2) allege that Signet’s FLSA violations were willful; (3) add as defendants

three companies related to Signet, as well as the officers of those companies; and (4) add

state-law claims for breach of contract, quantum meruit, and unjust enrichment. Dkt. 92.1

Under Federal Rule of Civil Procedure 15(a), the court should freely grant leave to amend when

justice so requires. But the court may deny a proposed amendment if the moving party has

unduly delayed in filing the motion, if the opposing party would suffer undue prejudice, or if

the proposed amendment is futile. Campania Mgmt. Co. v. Rooks, Pitts & Poust, 290 F.3d 843,

848–49 (7th Cir. 2002).




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  Luna Vanegas has filed three motions related to amending his complaint: a motion for leave
to file an amended complaint, Dkt. 70; an amended motion to file an amended complaint,
Dkt. 80, and a motion to file a second amended complaint, Dkt. 92. Luna Vanegas states that
the most recent proposed complaint incorporates all of his proposed amendments and
supersedes his prior motions. Dkt. 92. The court will deny the prior motions, Dkt. 70 and Dkt.
80, as moot.


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       Signet has no objection to adding Garcia Gonzalez as a plaintiff. But it opposes the

other proposed amendments on the ground that they are futile. In determining whether

amendment is futile, the court considers the proposed amendment under the same standards

governing a motion to dismiss for failure to state a claim under rule 12(b)(6). GE Capital Corp.

v. Lease Resolution Corp., 128 F.3d 1074, 1085 (7th Cir. 1997). So the question is whether the

facts alleged in the amended complaint state plausible claims for relief. Taha v. Int’l Bhd. of

Teamsters, Local 781, 947 F.3d 464, 469 (7th Cir. 2020).

       1. Willful violations

       Luna Vanegas alleges in his proposed amended complaint that defendants’ violations

of the FLSA’s overtime provisions were willful. See Dkt. 92-1, ¶ 64. Whether defendants’

violations were willful determines which statute of limitations applies to Luna Vanegas’s FLSA

claim: the default limitations period under the FLSA is two years, but willful violations are

subject to a three-year statute of limitations. 29 U.S.C. § 255(a). An employer acts willfully

when it knows or shows reckless disregard for whether its actions violated the FLSA. McLaughlin

v. Richland Shoe Co., 486 U.S. 128, 133 (1988).

       Luna Vanegas alleges in his amended complaint that “[d]efendants’ violations of the

FLSA’s overtime provisions were willful” and that “[d]efendants showed reckless disregard as

to whether its conduct was prohibited by the FLSA.” Dkt. 92-1, ¶ 64. Although those

allegations are conclusory, courts in this circuit have consistently held that FLSA plaintiffs do

not need to plead specific facts to show that a defendant’s violations were willful. See, e.g.,

Divine v. Volunteers of Am. of Ill., 319 F. Supp. 3d 994, 1001 (N.D. Ill. 2018); Kammer v. CET

Inc., 2021 WL 2632441, at *2 (N.D. Ind. June 25, 2021). Plaintiffs are unlikely to know facts

relevant to the defendant’s state of mind prior to discovery. See Ivery v. RMH Franchise Corp.,


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280 F. Supp. 3d 1121, 1135 (N.D. Ill. 2017). So at the pleading stage, “all that is required is

a general allegation that the defendant’s actions were willful.” Divine, 319 F. Supp. 3d at 1001.

Luna Vanegas’s conclusory allegations are enough to allege a willful FLSA violation at this stage

of the case.

       Signet contends that it could not have acted recklessly because the Department of Labor

certified that Luna Vanegas was performing “agricultural work” when it approved his H-2A

guestworker visa. But that argument goes to the ultimate question of whether the alleged

violations were willful, which cannot be resolved at the pleading stage. Whether an FLSA

violation was willful is a determination normally reserved for the trier of fact. See Bankston v.

Illinois, 60 F.3d 1249, 1253 (7th Cir. 1995) (“It is the jury’s province to decide which

limitations period, two or three years, applies in light of the plaintiffs’ evidence that the

defendants acted willfully.”). The fact that Luna Vanegas received an agricultural visa will be

relevant to determining whether defendants were reckless, but it isn’t dispositive. The criteria

for receiving an H-2A visa are broader than the FLSA agricultural exemption. See Vanegas v.

Signet Builders, Inc., 46 F.4th 636, 645 (7th Cir. 2022). And in any event, Luna Vanegas alleges

that defendants mischaracterized the nature of his work on his visa applications. See Dkt. 92-1,

¶ 26. Whether the alleged violations were willful in light of those facts will be resolved later in

the case.

       2. Claims against new corporate defendants

       Luna Vanegas’s initial complaint named as defendant only Signet Builders, Inc. Luna

Vanegas seeks to add claims against three affiliated entities that managed the construction

projects that Luna Vanegas worked on: Signet Construction, LLC, Signet Construction, Inc.,

and Northridge Construction, Inc. Luna Vanegas alleges that these companies has the same


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corporate officers as Signet Builders and that all of Signet’s companies “operate as a single

entity.” Dkt. 92-1, ¶ 11. Luna Vanegas states that he did not originally name the other Signet

companies in his initial complaint because he was unaware that he worked for those entities in

addition to Signet Builders, Inc.

       Signet contends that Luna Vanegas’s proposed claims are time-barred. Luna Vanegas

last worked for Signet in December 2019. So even if a three-year statute of limitations applies

to Luna Vanegas’s claims, Signet argues, Luna Vanegas had to amend his complaint by

December 2022 for his new claims to be timely. Luna Vanegas filed his proposed amended

complaint in February 2023. Luna Vanegas contends that his claims are timely because they

relate back to his initial complaint filed in January 2021 and because the statute of limitations

should be equitably tolled to account for the year that the case was pending in the court of

appeals.

       Whether Luna Vanegas’s new claims are timely cannot be resolved based on the facts

in his complaint. Dismissal based on the statute of limitations is an affirmative defense, and

plaintiffs are not required to plead facts to overcome affirmative defenses. NewSpin Sports, LLC

v. Arrow Elecs., Inc., 910 F.3d 293, 299 (7th Cir. 2018). Accordingly, the court can dismiss a

complaint as untimely only if the facts in the complaint establish an “impenetrable” statute of

limitations defense. Tamayo v. Blagojevich, 526 F.3d 1074, 1086 (7th Cir. 2008). Put another

way, whether Luna Vanegas’s proposed amendment is futile turns on whether there is “a

conceivable set of facts, consistent with the [proposed amended complaint], that would defeat

a statute of limitations defense.” Sidney Hillman Health Ctr. Of Rochester v. Abbott Labs., Inc., 782

F.3d 922, 928 (7th Cir. 2015).




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       Luna Vanegas’s proposed amendment is not futile because it is conceivable that his new

claims relate back to his initial complaint under Federal Rule of Civil Procedure 15(c). Rule

15(c)(1) provides that an amendment that “changes the party” against whom a claim is asserted

relates back to the initial complaint if four conditions are met: (1) the claim arises out of the

same facts as an existing claim; (2) the new party had notice of the initial claim within 90 days

of when it was filed; (3) the new party would not be prejudiced; and (4) the new party knew,

or should have known, that it would have been sued “but for a mistake concerning the proper

party’s identity.” Rule 15(c) must be construed liberally. Staren v. Am. Nat’l Bank & Tr. Co.,

529 F.2d 1257, 1263 (7th Cir. 1976). Accordingly, courts in this circuit have allowed plaintiffs

to use Rule 15(c) to add new parties without substituting an already named party. See Brown v.

SportsArt Am., Inc., 2012 WL 5304157, at *4 (N.D. Ill. Oct. 25, 2012); Niewiedzial v. Wexford

Health Sources, Inc., 2023 WL 3304703, at *3 (S.D. Ill. May 8, 2023); see also Joseph v. Elan

Motorsports Techs. Racing Corp., 638 F.3d 555, 560 (7th Cir. 2011) (question is whether party

knew that plaintiff “would have sued him instead or in addition to suing the named

defendant”).

       A plaintiff does not have to show that his new claims satisfy Rule 15(c) to be allowed

to add them to his complaint under Rule 15(a). See Joseph, 638 F.3d at 559. Instead, courts

should allow the amendment and resolve the statute of limitations issue after the new

defendants are in the case. See id. at 559–60. (“The judge should have allowed the amendment

and then, believing that the amended complaint did not relate back, should have rendered

judgment on the merits.”). In this case, whether Rule 15(c) applies to Luna Vanegas’s claims

cannot be resolved based on the allegations in his amended complaint. The claims asserted

against the new defendants are based on the same facts as in the initial complaint. But there is


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no basis to determine whether the new defendants received notice of the original complaint

within 90 days and whether the new defendants knew, or should have known, that Luna

Vanegas would have sued them in addition to Signet Builders, Inc in the absence of mistake.

       Signet contends that Luna Vanegas’s decision to sue only Signet Builders, Inc. was not

a “mistake” because he could have learned about the other entities if he had exercised due

diligence. That argument goes to the reasonableness of Luna Vanegas’s mistake, which is

irrelevant to whether an amendment relates back under Rule 15(c). See Krupski v. Costa Crociere

S. p. A., 560 U.S. 538, 549 (2010). Instead, the question turns on whether the new defendants

knew, or should have known, that Luna Vanegas would have sued them had he known of their

existence. Id. It is conceivable that the new defendants knew, or should have known, that they

would have been sued absent a mistake from Luna Vanegas, so Luna Vanegas may add them

as defendants. Because the court is allowing Luna Vanegas to amend his complaint on the

ground that the new claims may relate back under Rule 15(c), the court need not consider the

merits of Luna Vanegas’s argument based on equitable tolling at this time.

       3. Claims against individual corporate officers

       Luna Vanegas also seeks to assert claims against three of Signet’s corporate officers:

Orville J. Schonefeld II (president), Natalie Farmer (vice president) and Rodney Schonefeld

(chief financial officer). Signet contends that the proposed amendments are futile because

(1) the claims against the individual officers are time-barred; and (2) Luna Vanegas’s

allegations do not suggest that defendants are individually liable under the FLSA. Signet’s

statute of limitations argument fails for the same reasons why it failed with respect to the

corporate defendants: dismissal based on the statute of limitations is an affirmative defense,




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and Luna Vanegas’s complaint does not conclusively establish that the claims against the

individual defendants are untimely.

       As for whether Luna Vanegas has stated a claim against the individual defendants, the

complaint alleges enough facts to suggest that they are liable for his claims. An individual can

be liable for an FLSA violation if they are an “employer.” 29 U.S.C. § 203(d). To determine

whether an individual is an employer, courts consider (1) whether the individual has the power

to hire and fire; (2) whether he supervises and controls employee work schedules or conditions;

(3) whether he determines the rate and method of payment; and (4) whether he maintains

employment records. George v. Badger State Indus., 827 F. Supp. 584, 587 (W.D. Wis. 1993)

(quoting Bonnette v. California Health and Welfare Agency, 704 F.2d 1465, 1470 (9th Cir. 1983)).

Luna Vanegas alleges that the officers “assign[ed]” him to work for certain Signet entities and

that they “ma[de] the determination to treat [him] as FLSA overtime exempt.” Dkt. 92-1,

¶¶ 54, 55. Those allegations suggest that the officers controlled Luna Vanegas’s work schedules

and determined his rate of pay. Accepting those allegations as true, it is plausible that the

officers were employers under the FLSA. Luna Vanegas may amend his complaint to add them

as defendants.

       4. State-law claims

       Luna Vanegas’s amended complaint adds a state-law claim for breach of contract. He

alleges that his employment contract with Signet states that he will receive “the highest of the

prevailing wage, [adverse effect wage rate], or federal or state minimum wage.” Neither party

explains what the “adverse effect wage rate,” or AEWR, is: it appears to be the minimum wage

applicable to employees performing work under an H-2A agricultural visa. See 20 C.F.R.

§ 655.122(l). The theory behind Luna Vanegas’s breach of contract claim is that even though


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he was classified as an H-2A agricultural worker, he was actually performing construction work

and was entitled to the minimum wage applicable to H-2B non-agricultural workers. The

minimum wage for construction workers under an H-2B visa is “much higher” than the AEWR.

Dkt. 92-1, ¶ 69. So by paying Luna Vanegas only slightly above the AEWR, Signet breached

its promise to pay Vanegas the highest of the prevailing wage, AEWR, or federal minimum

wage.

        Those allegations state a plausible claim for breach of contract. The allegations are

straightforward: Luna Vanegas alleges that Signet agreed to pay Luna Vanegas the federal

minimum wage, and it did not do so. Signet contends that this claim fails because nothing in

the contract states that Luna Vanegas would receive the minimum wage of an H-2B worker.

But as alleged, the parties did agree to pay Luna Vanegas the “federal minimum wage;” the

dispute is over what the term “federal minimum wage” means. Luna Vanegas alleges that the

provision entitled him to the minimum wage applicable to the work he actually performed. The

reasonableness of that interpretation is another issue that cannot be resolved on the basis of

the allegations in the complaint. The meaning of a given contract provision must be determined

in light of the entire contract. Folkman v. Quamme, 2003 WI 116, ¶24, 264 Wis. 2d 617, 635,

665 N.W.2d 857, 866. Neither party submitted copies of Luna Vanegas’s contracts, so the

court cannot determine what “federal minimum wage” means in its proper context. Luna

Vanegas’s amended complaint alleges a plausible contract claim, so the proposed amendment

is not futile.

        Luna Vanegas also asserts quantum meruit and unjust enrichment claims in the

alternative to his contract claim. Quantum meruit and unjust enrichment are “quasi-

contractual” theories of relief grounded in equitable principles, and they can be invoked only


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in the absence of an enforceable contract. Carroll v. Stryker Corp., 658 F.3d 675, 682 (7th Cir.

2011). Signet contends that Luna Vanegas has pleaded himself out of court with respect to

these claims because they conflict with his allegations that there was an enforceable contract

governing the terms of Luna Vanegas’s employment. But Luna Vanegas’s allegations aren’t

contradictory. Luna Vanegas contends that if the wage offered in his work contract was less

than the minimum wage, the wage term in the contract is illegal and void as against public

policy. Under those circumstances, the formal contract would not be enforceable and Luna

Vanegas could recover in equity. So he may add his quasi-contract claims to his lawsuit.

       Although neither party raises this issue, Luna Vanegas’s amended complaint does not

expressly state that he seeks to bring his state-law claims in a representative capacity. Luna

Vanegas’s proposed FLSA collective would cover only his FLSA claims. If Luna Vanegas wishes

to bring related state-law claims on behalf of other similarly situated Signet employees, he must

move to certify a state-law class action under Federal Rule of Civil Procedure 23. See Ervin v.

OS Rest. Servs., 632 F.3d 971, 974 (7th Cir. 2011). Any motion to certify a Rule 23 class must

be filed by the deadline to move for decertification of the FLSA collective.

B. Motion for conditional certification of an FLSA collective

       Luna Vanegas asks the court to conditionally certify an FLSA collective comprising

“[a]ll U.S. and H-2A workers who worked on agricultural construction projects” for Signet at

any time on or after January 2019. Dkt. 83. He also asks the court to approve his proposed

notice to potential opt-in plaintiffs. Signet opposes the certification motion in its entirety. But

it contends that if the court does grant the motion, the collective should be limited to

employees who worked in Wisconsin because the court does not have personal jurisdiction over




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claims based on alleged FLSA violations that took place in other states. Signet also objects to

several aspects of Luna Vanegas’s proposed notice.

       1. Conditional certification

       District courts in this circuit—and others across the county—have adopted a two-step

approach to collective action certification. Jirak v. Abbott Labs., Inc., 566 F. Supp. 2d 845, 847

(N.D. Ill. 2008). First, the plaintiff must “make a minimal showing that others in the potential

class are similarly situated.” Mielke v. Laidlaw Transit, Inc., 313 F. Supp. 2d 759, 762 (N.D. Ill.

2004). This first step is a lenient test: it requires “nothing more than substantial allegations

that the putative class members were together the victims of a single decision, policy, or plan.”

Jirak, 566 F. Supp. 2d at 848 (quoting Thiessen v. GE Capital Corp., 267 F.3d 1095, 1102 (10th

Cir. 2001)). Because “the similarly situated standard is a liberal one, it typically results in

conditional certification of a representative class.” Rottman v. Old Second Bancorp, Inc., 735 F.

Supp. 2d 988, 990 (N.D. Ill. 2010) (internal quotation marks omitted).

       Second, after the parties have engaged in discovery and the opt-in process is complete,

the court undertakes a more stringent analysis of the similarities among collective members.

Mielke, 313 F. Supp. 2d at 762. At step two, the court considers whether “the plaintiffs are in

fact similarly situated to those who have opted in.” Kelly v. Bluegreen Corp., 256 F.R.D. 626,

629 (W.D. Wis. 2009). If they are not, the court will decertify the collective.

       On Luna Vanegas’s motion for conditional certification, the court considers only

whether he has made the modest factual showing required at step one. To determine whether

Luna Vanegas has satisfied step one, the court evaluates the record before it, including the

complaint and any evidence that has been submitted. Sjoblom v. Charter Communs., LLC, 571

F. Supp. 2d 961, 968 (W.D. Wis. 2008). The court does not reach the merits of the claim.


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Rather, Luna Vanegas must demonstrate only that there is some factual nexus that connects

them to other potential plaintiffs as victims of an unlawful practice. Id. at 967. Luna Vanegas

must adduce evidence that the proposed collective action will “facilitate efficient resolution of

common questions and common answers.” Fosbinder-Bittorf v. SSM Health Care of Wis., Inc.,

2013 WL 3287634, at *4 (W.D. Wis. Mar. 21, 2013).

       Luna Vanegas has met his initial burden to show that the other members of the

proposed collective are similarly situated, with one caveat. The record shows that Signet treated

all H-2A visa holders who worked on agricultural construction projects as exempt from the

FLSA. See Dkt. 85-2, at 10. Accordingly, it did not pay any of those employees overtime if they

worked more than 40 hours in a work week. Luna Vanegas contends that this practice was

unlawful because the work performed on those projects was not “agriculture” as the term is

defined in the FLSA. Signet admitted in its answer to Luna Vanegas’s initial complaint that all

of Signet’s H-2A workers performed the same or substantially similar construction job duties.

See Dkt. 1, ¶ 24 (initial complaint); Dkt. 61, ¶ 24 (Signet’s answer). So the question whether

the work performed by H-2A workers on farms was “agriculture” under the FLSA may have a

common answer for all of those workers.

       The problem is that Luna Vanegas’s proposed collective is overbroad. It includes all

H-2A visa holders who worked on agricultural construction projects, as well as “[a]ll U.S.

workers” who worked on those same projects. There were some U.S. citizens who performed

the same work as H-2A visa holders, and Signet treated those domestic employees as exempt

from the FLSA. Those workers are similarly situated to Luna Vanegas and the other H-2A

workers. See Altamirano-Santiago v. Better Produce, Inc., 2019 WL 3457325, at *3 (C.D. Cal. July

30, 2019) (“potential factual dissimilarities here, such as whether a farmworker was an H-2A


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worker or domestic worker, do[] not defeat collective treatment”). However, there were also

U.S. citizens who worked on those projects in other roles, including civil engineers,

superintendents, and foremen. See Dkt. 97, ¶ 5. Luna Vanegas hasn’t shown that those

employees had similar responsibilities to H-2A workers or that all of them are hourly employees

subject to the FLSA’s overtime rules.

       The task is to craft a collective definition that includes domestic workers who performed

the same tasks as H-2A workers and who were not otherwise exempt from the FLSA because

they were administrators, executives, or professionals. See 29 U.S.C. § 213(a)(1). As for the

tasks H-2A workers performed, most of Signet’s H-2A applications described their tasks as

follows:

              On farms, measure and lay out livestock building. Excavate
              footings and level the earth to grade specifications. Tie rebar,
              position aluminum wall forms, and place concrete. Unload
              materials, layout lumber and steel, tin sheets, trusses, and other
              components for building livestock confinement structures. Build
              and erect walls and trusses. Lift tin sheets to roof and sheet walls,
              install doors and caulk structure. Install and repair feeders, feed
              tanks and help assemble feed lines: repair and install curtains and
              gates. Clean up job sites. Occasional use of forklift upon
              employerဨprovided certification. Must be able to lift and carry
              50lbs/75yds.

See Dkt. 86-1. As for the administrative, executive, and professional exemptions, those

exemptions apply if the worker is salaried; his work is primarily directly related to management

of the business, management of other employees, or duties requiring specialized knowledge;

and he is not a “manual laborer[],” among other things. See 29 CFR § 541.3. With that in

mind, the court concludes that an appropriate collective definition would encompass all H-2A

workers who worked on agricultural construction projects for Signet, as well as all hourly-paid,




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non-managerial U.S. workers who provided manual labor on agricultural construction projects

for Signet. The court will conditionally certify a collective with that definition.

       Signet provides four arguments why the conditional certification motion should be

denied, none of which is persuasive. First. it contends that Luna Vanegas’s evidence is

insufficient because he has not provided declarations from other Signet employees who worked

at different building sites. But Luna Vanegas doesn’t need to present his evidence in a specific

form. Signet’s responses to Luna Vanegas’s complaint and interrogatories suggest that all

members of the proposed collective performed similar work on similar types of projects, and

that all of them were treated as exempt from the FLSA. That is enough to make the minimal

showing required at step one. Whether the proposed collective members are, in fact, similarly

situated will be determined at step two of the certification process.

       Second, Signet contends that there is insufficient interest to warrant a collective action

because only one additional plaintiff has joined the case so far. But the number of opt-in

plaintiffs is irrelevant to determining whether a collective should be conditionally certified. It

is unsurprising that there are not many opt-in plaintiffs at this point because Luna Vanegas

has not sent out judicially-approved notice to the entire collective. This is another argument

best saved for step two of the certification process. See De Leon v. Grade A Constr., Inc., No. 16-

cv-348-jdp, 2017 WL 6375821, at *2 (W.D. Wis. Dec. 13, 2017) (considering interest at the

decertification stage).

       Third, Signet contends that Luna Vanegas does not adequately represent the proposed

collective because the collective includes employees who worked for Signet after Luna Vanegas

stopped taking Signet jobs 2019. This argument fails. The record shows that Signet’s current

“agricultural construction” employees are performing the same sort of construction work that


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he performed, and Signet has not changed its policy of treating those employees as exempt

from the FLSA. Signet doesn’t identify any changes to the terms or conditions of its agricultural

construction jobs that it’s made since Luna Vanegas left that make him differently situated

than the rest of the collective.

       Fourth, Signet says that conditional certification should be delayed pending resolution

of its petition for a writ of certiorari with the United States Supreme Court challenging the

Seventh Circuit’s decision to let this case go forward. Signet argues that it would be a waste of

resources to send notice to proposed collective members if the Court reverses the Seventh

Circuit and dismisses the case. Signet provides no authority that delaying conditional

certification is proper under these circumstances. The Seventh Circuit issued its mandate and

remanded the case to this court in October 2022, more than four months before Luna Vanegas

renewed his conditional certification motion. If Signet wished to stay the mandate pending the

Supreme Court’s disposition of its certiorari petition, it should have promptly sought that relief

in the court of appeals.

       In any event, Signet makes no showing that delaying certification would save resources

in this case. It provides no argument why the Supreme Court is likely to grant the petition or

that the court is likely to reverse the Seventh Circuit’s decision. See In re A.F. Moore & Assocs.,

974 F.3d 836, 840 (7th Cir. 2020) (describing standard for staying court of appeals’ mandate).

This court will not delay conditional certification based on Signet’s speculation that the

Supreme Court may choose to take up the case.

       2. Personal jurisdiction

       Signet requests that if the court grants the conditional certification motion, the

collective should be limited to employees who performed work in Wisconsin. Signet contends


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that the court does not have personal jurisdiction over the claims of plaintiffs who performed

work in other states. The court does not have general jurisdiction over claims against Signet

because Signet is not a citizen of Wisconsin. As for specific jurisdiction, Signet contends that

even though the case is styled as a collective action, the court would have jurisdiction over only

claims that arose from Signet’s contacts with Wisconsin.

        Signet’s argument is based on the Supreme Court’s decision in Bristol-Myers Squibb Co.

v. Superior Court, 582 U.S. 255, 264 (2017). That case concerned a mass-tort action brought

in California state court. The mass-tort action included claims from plaintiffs who were not

citizens of California and who were not harmed by Bristol-Myers in California. Bristol-Myers

was not a California citizen, so the issue before the court was whether California had specific

jurisdiction over the out-of-state plaintiffs’ claims. The Court concluded that it did not, relying

on the principle that specific jurisdiction requires a connection between the forum state and

the plaintiff’s claim. Id. Because the out-of-state plaintiffs were not harmed by Bristol-Myers’

conduct in California, the California court did not have the authority to hear those plaintiffs’

claims in the mass-tort action.

       The Seventh Circuit recently concluded that the rule in Bristol-Myers does not apply to

class actions based on violations of federal law that are brought under Federal Rule of Civil

Procedure 23. Mussat v. IQVIA, Inc., 953 F.3d 441, 446 (7th Cir. 2020). In that context, “the

named representatives must be able to demonstrate either general or specific personal

jurisdiction, but the unnamed class members are not required to do so.” Id. at 447. However,

the Seventh Circuit has not addressed whether Bristol-Myers applies to collective actions

brought under the FLSA. The circuits that have reached the issue are split. The Third, Sixth,

and Eighth Circuits have all concluded that Bristol-Myers applies to FLSA collective actions, so


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the court must have personal jurisdiction over the claims of each opt-in plaintiff. Canaday v.

Anthem Cos., 9 F.4th 392 (6th Cir. 2021); Fischer v. Fed. Express Corp., 42 F.4th 366 (3d Cir.

2022); Vallone v. CJS Sols. Grp., LLC, 9 F.4th 861 (8th Cir. 2021). The First Circuit reached

the opposite result and concluded that only the named plaintiffs’ FLSA claims needed to arise

from the defendants’ contacts with the forum state. Waters v. Day & Zimmermann NPS, Inc.,

23 F.4th 84 (1st Cir. 2022).

       Signet and Luna Vanegas disagree about which circuits got it right. But the court

declines to resolve the issue here. The purpose of conditional certification is to determine

whether the proposed collective is similarly situated, not to decide whether it has jurisdiction

over non-parties to the lawsuit. Defendants generally cannot preemptively prevent a plaintiff

from joining a suit due to lack of jurisdiction. Accordingly, courts frequently reject challenges

to conditional certification based on the court’s jurisdiction over the claims of potential

plaintiffs as premature. See, e.g., Parker v. IAS Logistics DFW, LLC, 2021 WL 170788, at *3

(N.D. Ill. Jan. 19, 2021); Iannotti v. Wood Grp. Mustang, 2021 WL 2805812, at *5 (S.D. Ill.

July 6, 2021); Warren v. MBI Energy Servs., Inc., 2020 WL 5640617, at *2 (D. Colo. 2020);

(applying Bristol-Myers at certification stage “puts the proverbial cart before the horse”). This

approach “is especially justified where . . . it is unclear whether any out-of-state opt-ins will

even join the suit.” Knecht v. C & W Facility Servs., 534 F. Supp. 3d 870, 876 (S.D. Ohio 2021).

And if the collective is decertified at step two, the disposition of any claims brought by plaintiffs

who were not harmed in Wisconsin would be straightforward: those claims would be dismissed

without prejudice to refiling them as individual suits in the proper forum. So Signet may renew

its Bristol-Myers argument at the decertification stage if it wishes.




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       3. Notice

       Luna Vanegas asks the court to approve his proposed notice to the collective and his

proposed consent form, which are on the docket at Dkt. 86-3. Luna Vanegas also seeks:

(1) permission to issue notice by email, phone calls, and WhatsApp text message;

(2) permission to use “alternative delivery services” such as mailing the notice from regional

locations within Mexico or holding public meetings in towns where collective members live;

(3) an order requiring Signet to post the notice in the common areas of H-2A worker housing

for the duration of the opt in period; (4) a 180-day notice period by which opt-in plaintiffs

must respond; and (5) an order requiring Signet to produce the names, addresses, telephone

numbers, e-mail addresses, and dates of employment for each putative collective member.

Signet didn’t oppose Luna Vanegas’s request to order Signet to produce that information about

the putative collective members, so the court will grant it.

       As for the notice itself, district courts have discretion to craft and facilitate the notice

and other communications that a named plaintiff sends to potential plaintiffs. See Hoffmann-

La Roche v. Sperling, 493 U.S. 165, 169 (1989). But “courts must be scrupulous to respect

judicial neutrality and to avoid even the appearance of judicial endorsement of the merits of

the action.” Jimenez v. GLK Foods LLC, 2013 WL 3936928, at *4 (E.D. Wis. July 30, 2013)

(internal quotation marks omitted.”) Signet objects to the text of the proposed notice, to Luna

Vanegas’s proposed methods of distribution, and to the requested 180-day notice period.2




2
 Signet requests to have an opportunity to submit supplemental briefing on the issue of notice
and states that it “reserves the right to further object” in the event the court grants conditional
certification. Dkt. 96, at 26–27. Signet already had the opportunity to raise objections to Luna
Vanegas’s proposed notice in its brief. If Signet had additional objections, it should have raised
them in its opposition brief. Any additional objections are forfeited.


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           a. Text of the notice

       Courts should refrain from altering an FLSA plaintiff’s proposed notice unless the

alteration is necessary to ensure that the notice is fair and accurate. Heitmann v. City of Chicago,

2004 WL 1718420, at *3 (N.D. Ill. July 30, 2004). Here, Luna Vanegas’s notice and consent

form must be altered to reflect the definition of the collective that the court has conditionally

certified: all H-2A workers who worked on agricultural construction projects for Signet at any

time on or after January 2019, as well as all hourly-paid, non-managerial U.S. workers who

provided manual labor on agricultural construction projects for Signet.

       Signet takes issue with three elements of the notice. First, Signet objects to the section

titled “What are my choices?” That section informs recipients that they have the right to join

the lawsuit if they believe they worked more than 40 hours in any work week while working

for one of the Signet defendants, and that they have the right not to join the lawsuit if they do

not want to or if they want to file their own lawsuit. Dkt. 86-3, at 3. Signet contends that the

notice is redundant because the notice already explains how putative opt-ins may join the

lawsuit. But it is useful to have language expressly informing putative opt-ins that they may

choose to not join the lawsuit if they wish. Signet also contends that the section is confusing

because it does not expressly limit eligibility to employees who performed agricultural

construction work. Luna Vanegas does not object to adding “on farms” between the words

“while working” and “for one or more of the Signet Defendants.” That is an appropriate change,

so Luna Vanegas’s notice should be amended accordingly.

       Second, Signet contends that the notice fails to inform potential plaintiffs of “the

realities of litigation,” including that they may be required to testify and that costs may be

assessed against them if Signet prevails. “Parading a list of unpleasant consequences may chill


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otherwise legitimate interest in joining this collective action.” Campeau v. Neuroscience, Inc., 86

F. Supp. 3d 912, 920 (W.D. Wis. 2015). Luna Vanegas’s attorney will be responsible for

informing all opt-in plaintiffs of the potential consequences of joining this suit, and Signet’s

objection does not require altering the notice.

       Third, Signet objects to informing recipients that they are eligible to opt in if they

worked for Signet “at any time after January 2019” because the FLSA’s statute of limitations

is only two years, not four. This argument is premature. Luna Vanegas has alleged a willful

violation, which justifies providing notice to the putative collective on the basis of the

potentially applicable three-year period. See, e.g., Ivery, 280 F. Supp. 3d at 1135; Sylvester v.

Wintrust Fin. Corp., 2013 WL 5433593, at *5 (N.D. Ill. Sep. 30, 2013). And Luna Vanegas

contends that potential opt-ins are entitled to equitable tolling for the one year and 69 days

that the case was on appeal. So it is plausible that employees who have not worked for Signet

since January 2019 still have claims that fall within the statute of limitations. Cf. Werner v.

Waterstone Mortg. Corp., No. 17-cv-608-jdp, 2018 WL 813525, at *2 (W.D. Wis. Feb. 9, 2018)

(refusing to approve notice to individuals “with no plausible basis for asserting that they have

timely claims.”) Issues related to the statute of limitations will be resolved at the decertification

stage, at summary judgment, or at trial.

           b. Distributing the notice

       Signet objects to Luna Vanegas’s proposed methods of distributing notice. It contends

that Luna Vanegas should be permitted to send notice only once and only via U.S. Mail. Luna

Vanegas doesn’t respond to Signet’s arguments about to the number of notices that should be

sent to each potential plaintiff. As for Signet’s arguments about which distribution method to

use, Luna Vanegas responds only to Signet’s objections to the use of text messaging. He argues


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that it is appropriate to send text messages because (1) mail service is unreliable in Mexico;

(2) many potential plaintiffs are transient; (3) Signet itself used telephone calls and text

messages to contact its employees in Mexico.

       The court will allow Luna Vanegas to distribute notice by email and by text message.

Courts commonly approve sending notice by email in FLSA cases. Grosscup v. KPW Mgmt., Inc.,

261 F. Supp. 3d 867, 880 (N.D. Ill. 2017) (collecting cases). Decisions approving notice by

text message are somewhat rarer. But courts have allowed plaintiffs to disseminate notice

through text message when the potential plaintiffs are transient, see Campbell v. Marshall Int’l,

LLC, 623 F. Supp. 3d 927, 935 (N.D. Ill. 2022); the plaintiffs live in locations without reliable

mail service, see Balderas-Guevara v. Mity Mole, Inc., 2010 WL 472384, at *1 (M.D. Fla. Feb. 5,

2010); and text messaging was the primary method an employer used to keep in touch with

the potential plaintiffs, see Rosebar v. CSWS, LLC, 2020 WL 43015, at *3 (N.D. Ill. Jan. 3,

2020). Luna Vanegas has adduced evidence that those circumstances are present here.

Providing notice through text message is likely to be a viable and efficient means of

communicating with this population of potential plaintiffs. Issuing notice through both email

and text message will increase the probability that potential plaintiffs will learn about the

lawsuit, but it is not enough to be bothersome or to give the appearance that the court endorses

joining the suit.

           c. Opt-in period

       Luna Vanegas asks for a six-month opt-in period because the potential plaintiffs are

transient and live abroad. In some other cases involving migrant workers, courts have allowed

five- and six-month opt-in periods on those grounds. See, e.g., Cardenas v. A.J. Piedimonte Agric.

Dev., LLC, 2018 WL 6177271, at *6 (W.D.N.Y. Nov. 26, 2018). Allowing Luna Vanegas to


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provide notice by email and text message mitigates some of those concerns. Those methods

transmit notice instantaneously and directly to the recipient. Potential plaintiffs will be able to

receive those messages even if they are frequently traveling. But some additional time may be

necessary to obtain accurate contact information for potential plaintiffs who reside abroad and

may not have worked in the U.S. for several years. With that in mind, the court concludes that

a 90-day notice period is appropriate. See Woods v. Club Cabaret, Inc., 140 F. Supp. 3d 775, 784

(C.D. Ill. 2015) (“Courts routinely approve a 90-day opt-in period”).



                                             ORDER

       IT IS ORDERED that:

       1. Plaintiff Jose Luna Vanegas’s motion to amend the complaint, Dkt. 92, is
          GRANTED.

       2. Plaintiff’s renewed motion for conditional certification of an FLSA collective,
          Dkt. 83, is GRANTED in the manner described in this opinion.

       3. The court conditionally certifies an FLSA collective with the following definition:

               All H-2A workers who worked on agricultural construction
               projects for Signet Builders, Inc., Signet Construction, LLC,
               Signet Construction, Inc. and/or Northridge Construction, Inc. at
               any time on or after January 2019, as well as all hourly-paid, non-
               managerial U.S. workers who provided manual labor on
               agricultural construction projects for those companies at any time
               on or after January 2019.

       4. Plaintiff is directed to amend the proposed collective notice and consent form,
          Dkt. 86-3, as discussed above. Plaintiffs must submit final versions to the court by
          August 16, 2023.

       5. Defendants may have until August 23, 2023, to submit to plaintiffs a list of the
          names, addresses, telephone numbers, e-mail addresses, and dates of employment
          for each putative collective member. Plaintiffs must send notice by email and text
          message within one week of receiving the list.

       6. Plaintiffs’ motion to certify a state-law class action under Federal Rule of Civil
          Procedure 23 is due February 16, 2024.

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Entered August 2, 2023.

                               BY THE COURT:

                               /s/
                               ________________________________________
                               JAMES D. PETERSON
                               District Judge




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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

 JOSE AGEO LUNA VANEGAS,                               )
 On behalf of himself and all others similarly         )
 situated,                                             )     CASE NO.: 3:21-cv-00054-jdp
                                                       )
                 Plaintiff,                            )
                                                       )
 v.                                                    )
                                                       )
 SIGNET BUILDERS, INC.                                 )
                                                       )
                 Defendant.                            )

 DEFENDANT’S COMBINED PETITION TO CERTIFY INTERLOCUTORY APPEAL,
  MOTION TO AMEND COURT ORDER, AND MOTION TO STAY PROCEEDINGS

       Defendant Signet Builders, Inc. (“Defendant” or “Signet”) hereby submits this Combined

Petition for Certification of Interlocutory Appeal, Motion to Amend Court Order, and Motion to

Stay Proceedings Pending Appeal. Pursuant to 28 U.S.C. § 1292(b), Defendant respectfully

requests that this Court amend its August 2, 2023 Order (Dkt. 107) (the “Order”) to certify the

issues for interlocutory appeal.

I.     INTRODUCTION

       Although this Court—as stated in the Order—declined to rule on whether their claims must

independently satisfy constitutional personal jurisdiction standards, the consequence of deferring

this decision is that hundreds of former and current Signet employees will receive notices with

instructions on how to opt in and join this litigation. If the Court then decides that it lacks specific

personal jurisdiction over claims by plaintiffs who worked outside of Wisconsin, more than 90%

of these notices will have been sent to individuals who are legally ineligible to participate in the

collective action.




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           Even in cases without this vast disparity, courts regularly certify conditional certification

orders for interlocutory appeal. Indeed, the Supreme Court had no trouble acknowledging that a

district court’s order sending notice to putative collective action members meets the statutory

criteria     for    interlocutory   appeal.    See       Hoffmann-La    Roche     Inc.   v.   Sperling,

493 U.S. 165, 169 (1989) (acknowledging that an order that “authorized respondents to send to all

employees who had not yet joined the suit a notice and a consent document, with a text and form

approved by the court” appropriately “met the requirements for immediate appeal” under

28 U.S.C. § 1292(b)).

           The parties and the Court would particularly benefit from an immediate appeal in this case

because the Order involves the critical question of whether Bristol-Myers Squibb, 582 U.S. 255

(2017) applies to nationwide collective actions under the FLSA. This novel issue continues to

percolate through the federal courts and has not yet been decided by the Seventh Circuit Court of

Appeals.

           On the predicate question of whether notice may be sent to out-of-state putative opt-in

plaintiffs before adjudicating personal jurisdiction, this Court’s Order represents a sharp departure

from the orders of other district courts within the Seventh Circuit and across the country. In fact,

since the Sixth Circuit’s Canaday decision, it appears that this Court’s procedural order of

operations has not been followed by any other district court. These issues are ripe for appellate

review, and Defendant respectfully asks the Court to amend its Order to allow such review.

II.        THE DISPUTED LEGAL ISSUES SATISFY THE § 1292(B) CRITERIA

           When a district court “shall be of the opinion” that its interlocutory order “involves a

controlling question of law as to which there is substantial ground for difference of opinion and

that an immediate appeal from the order may materially advance the ultimate termination of the



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litigation,” the court should permit appeal of that order. 28 U.S.C. § 1292(b). To do so, “the district

court may amend its order” to include a statement “granting permission” for the interlocutory

appeal. Fed. R. App. P. 5(a)(3). Although frivolous petitions for interlocutory appeals should not

be granted, “[i]t is equally important . . . to emphasize the duty of the district court and of [the

Seventh Circuit] as well to allow an immediate appeal to be taken when the statutory criteria are

met.” Ahrenholz v. Bd. of Trustees of Univ. of Illinois, 219 F.3d 674, 677 (7th Cir. 2000). Here,

this Court’s Order satisfies each of the statutory criteria.

        First, the Order involves a controlling question of law because it involves conditional

certification of a nationwide collective action and issuance of notices to out-of-state employees.

Adjudication of this purely legal issue does not require any factual development, and, in any event,

the relevant underlying facts are not disputed.

        Second, there is substantial ground for difference of opinion on whether a conditionally

certified collective action may include out-of-state claims when the court may not have personal

jurisdiction over those claims. Many courts within the Seventh Circuit have refused to issue opt-

in notices to potential out-of-state plaintiffs without first addressing the threshold personal

jurisdiction inquiry. The Courts of Appeal remain split1 on the ultimate issue of whether the

principles of Bristol-Myers Squibb apply to FLSA collective actions, and the Seventh Circuit has

not yet decided the question.




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  As Signet previously noted, three of the four circuit courts of appeal that have addressed this
issue have held that conditional certifications of FLSA collective actions may only include “opt-
in plaintiffs whose claims against the defendant arise from defendant’s minimum contacts with the
forum state.” Dkt. 96, p. 3. As one district court observed, this is the “majority view among both
circuit and district courts.” Wilkerson v. Walgreens Specialty Pharmacy LLC, 2022 WL
15520004, *4 (D. Ariz. Oct. 27, 2022).

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       Finally, an immediate appeal of the Order would materially advance termination of the

litigation because allowing out-of-state employees to acquire party plaintiff status through opt-in

notices would dramatically expand the scope of discovery and the potential damages recoverable

from Defendants. As courts have consistently recognized, the realities of modern collective action

litigation make the certification decision de facto dispositive. When a lawsuit transforms from a

single plaintiff to a class or collective action, even a defendant with meritorious defenses may face

“intense pressure to settle.” Matter of Rhone-Poulenc Rorer Inc., 51 F.3d 1293, 1298 (7th Cir.

1995). And “[i]f they settle, the class certification—the ruling that will have forced them to settle—

will never be reviewed.” Id.

       In any event, appellate guidance on these uniquely unresolved personal jurisdiction issues

would allow the parties and this Court to proceed to the merits under a clean procedural posture

and with clear expectations regarding the appropriate scope of discovery.

       A. The Order involves a controlling question of law.

       Consistent with Section 1292(b), the Seventh Circuit accepts interlocutory appeals when

“the certified question is a purely legal one.” Boone v. Illinois Dep't of Corr., 71 F.4th 622, 625

(7th Cir. 2023). Purely legal questions involve “the interpretation, and not merely the application,

of a legal standard.” Id. (quoting In re Text Messaging Antitrust Litig., 630 F.3d 622, 625 (7th Cir.

2010)). When the relevant issues include “something the court of appeals could decide quickly and

cleanly without having to study the record, the court should be enabled to do so without having to

wait till the end of the case.” Ahrenholz, 219 F.3d at 677.

       Here, Signet seeks to appeal three interconnected issues: 1) the appropriate procedures and

timing related to a personal jurisdiction challenge at the conditional certification stage of an FLSA

action; 2) whether a court may order notice sent to potential plaintiffs who may be legally ineligible



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to opt-in to the action; and 3) the scope of personal jurisdiction under Rule 4 and the Constitution’s

Due Process Clause in the context of nationwide FLSA collective actions. As evidenced from this

Court’s discussion of these issues, (Dkt. 107, pp.16-18), the analysis depends on the interpretation

of relevant legal authority, not on citations to the record or resolution of disputed facts. See

Ahrenholz, 219 F.3d at 676 (recognizing that interlocutory appeal is appropriate for questions

involving “the meaning of a statutory or constitutional provision, regulation, or common law

doctrine.”).

       Indeed, “[t]he majority of district courts” assess the application of Bristol Myers Squibb to

FLSA collective actions “either at the motion to dismiss stage or on a motion for conditional

certification.” Iannotti v. Wood Grp. Mustang, No. 20-CV-958-DWD, 2021 WL 2805812, at *4

(S.D. Ill. July 6, 2021). Motions to dismiss require the court to accept the plaintiff’s version of

facts. Similarly, here, this Court granted Plaintiff’s Motion for Conditional Certification largely

based on the pleadings. See Dkt. 107, p. 15 (“Signet’s responses to Luna Vanegas’s complaint and

interrogatories . . . . That is enough to make the minimal showing required at step one.”).

Resolution of these pre-discovery motions does not require extensive factual development.

Compare Equal Emp. Opportunity Comm'n v. Wal-Mart Stores, Inc., No. 17-CV-739-JDP, 2019

WL 1199396, at *2 (W.D. Wis. Mar. 14, 2019) (denying motion for interlocutory appeal of a

summary judgment order because “the factual record of this case is not yet fully developed so it

does not make much sense to take an appeal of the legal point now”). Accordingly, the Order

involves pure questions of law that are ripe for appellate review.

       Questions of law are “controlling” when they are “quite likely to affect the future course

of the litigation.” Boone, 71 F.4th at 625. Here, a conditionally certified collective action inclusive

of out-of-state plaintiffs would materially expand the scope of discovery, potential damages, and



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the costs of litigation. Indeed, “the Seventh Circuit has observed that a plaintiff's discovery

demands upon conditional certification may impose ‘a tremendous financial burden to the

employer.’” Adair v. Wisconsin Bell, Inc., No. 08-C-280, 2008 WL 4224360, at *4 (E.D. Wis.

Sept. 11, 2008) (quoting Woods v. New York Life Ins. Co., 686 F.2d 578, 581 (7th Cir. 1982)).

The impact of this Court’s Order cannot be understated: the inclusion of out-of-state plaintiffs

increases the size of the conditionally certified collective from fewer than 30 to up to 600 potential

opt-in plaintiffs. See Dkt. 96-1, Declaration of Natalie Farmer (noting that, in the last two years,

Signet employed 23 H-2A workers in Wisconsin).

       The Court’s Order also allows Plaintiff to amend his Complaint and add new parties to

encompass out-of-state employees who worked for related Signet companies. Plaintiff also adds

entirely new state law causes of action, which he may seek to assert as part of a Rule 23 class

action. This Court has not yet resolved how those causes of actions would be handled with respect

to opt-in plaintiffs from other states. See Ervin v. OS Rest. Servs., Inc., 632 F.3d 971, 974 (7th

Cir. 2011) (discussing the complexities related to plaintiffs asserting a Rule 23 state-law class

action in a proceeding that also includes a collective action brought under the FLSA).2

       Among other things, including out-of-state plaintiffs will certainly impact the numerosity

prerequisite to Rule 23 class actions; a potential class of 20-30 plaintiffs may not satisfy the

threshold. See Zettler v. Thurs Trucking, Inc., 18-cv-654-jdp, at *3 (W.D. Wis. Apr. 30, 2019)




2
 Although decided prior to the Supreme Court’s decision in Bristol-Myers Squibb Co. v. Superior
Court, 582 U.S. 255 (2017), the Ervin decision by the Seventh Circuit also addressed the issue of
whether an FLSA action allows a district court to assert supplemental jurisdiction over state law
claims. In doing so, the court appropriately recognized that jurisdictional questions should be
decided at the motion for conditional certification stage. The Ervin decision was an appeal from
the district court’s order on plaintiffs’ motions for both class certification (under Rule 23) and
conditional certification (under the FLSA). See Ervin v. OS Rest. Servs., Inc., No. 08 C 1091,
2009 WL 1904544 (N.D. Ill. July 1, 2009), rev'd, 632 F.3d 971 (7th Cir. 2011).

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(denying motion for conditional FLSA certification upon ruling that a class of 18 eligible opt-in

plaintiffs was “far fewer than necessary to satisfy the numerosity requirement”). By ordering

briefing on Rule 23 class certification without deciding the threshold personal jurisdiction issue,

this Court would need to issue orders that could be largely moot at the decertification stage. The

parties would engage in potentially futile motion practice and discovery over the claims of

hundreds of plaintiffs that could ultimately be dismissed.

       Distributing notice to employees outside of Wisconsin will affect not only this litigation

but could also stir up litigation in other states. The Court’s Order recognizes that “if the collective

is decertified at step two, the disposition of any claims brought by plaintiffs who were not harmed

in Wisconsin would be straightforward: those claims would be dismissed without prejudice to

refiling them as individual suits in the proper forum.” Dkt. 107, p. 18. Although the disposition of

such claims in this case may be straightforward, the likelihood of “individual suits in the proper

forum” would increase exponentially after Plaintiff’s attorneys have the opportunity to use the

Court-approved notice process to solicit those claims. Even if this Court ultimately dismisses those

claims, Plaintiff’s counsel would know the identities and contact information of hundreds of

potential plaintiffs across multiple states, and those plaintiffs would have already been advised

regarding their potential claims against Signet. The Supreme Court has expressly cautioned against

this scenario:

       Court intervention in the notice process for case management purposes is
       distinguishable in form and function from the solicitation of claims. In exercising
       the discretionary authority to oversee the notice-giving process, courts must be
       scrupulous to respect judicial neutrality. To that end, trial courts must take care to
       avoid even the appearance of judicial endorsement of the merits of the action.

Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 174 (1989).




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        Because sending notice to out-of-state employees will greatly affect the outcome of this

current litigation and potentially result in other actions against Signet, and because these issues

present straightforward legal questions, granting interlocutory review is appropriate.

        B. The Order involves a question of law as to which there is substantial ground for
           difference of opinion.
        As discussed in the Order, the circuits remain split on the applicability of Bristol-Myers

Squibb’s personal jurisdiction holding in the FLSA collective action context. Although the Court

“decline[d] to resolve the issue,” the Order nonetheless granted conditional certification of a

collective action that includes opt-in plaintiffs who may not ultimately have cognizable claims

against Signet in this case. Substantial ground for difference of opinion exists regarding whether

an FLSA collective may be conditionally certified to include such plaintiffs.

        When courts “reject challenges to conditional certification based on the court’s jurisdiction

over the claims of potential plaintiffs as premature,” (Dkt. 107, p. 18), they do so by limiting the

conditionally certified collective action to include only in-state potential plaintiffs. The cases cited

in the Order reflect this reality:

        x   In Parker v. IAS Logistics DFW, LLC, an out-of-state plaintiff had filed an opt-in

            notice prior to conditional certification. No. 20 C 5103, 2021 WL 170788 (N.D. Ill.

            Jan. 19, 2021). The defendant responded with an immediate motion to dismiss. In light

            of this procedural posture, and because the case was still in its earliest stage, the court

            “conclude[d] that the personal-jurisdiction analysis should take place after a ruling on

            the motion for conditional certification.” Id. at *4. In other words, unlike here, the

            motion for conditional certification had not yet been ruled upon. Notably, at the time

            of this order by the Parker court, in January 2021, no Circuit Court had decided the

            issue. A few months later, with the benefit of more persuasive authority, the same court


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           stayed the issuance of notice (Case No. 20 C 5103, Dkt. 62, Minute Entry) while

           allowing the parties to brief the issue. The Court ultimately held that “personal

           jurisdiction over the defendant must exist as to each opt-in.” Parker v. IAS Logistics

           DFW, LLC, No. 20 C 5103, 2021 WL 4125106, at *3 (N.D. Ill. Sept. 9, 2021).

       x   In Iannotti v. Wood Grp. Mustang, the defendant brought a motion to dismiss after the

           named plaintiff filed the complaint and before any notices were sent; the court

           “declined to consider this issue prior to conditional certification.” No. 20-CV-958-

           DWD, 2021 WL 2805812, at *4 (S.D. Ill. July 6, 2021). When the court ultimately

           granted plaintiff’s motion for conditional certification, it explained how it “will

           provisionally limit notice to Illinois employees, while reserving ruling on the issue

           of personal jurisdiction for potential out-of-state opt-in plaintiffs.” Iannotti v. Wood

           Grp. Mustang, 603 F. Supp. 3d 649, 652 (S.D. Ill. 2022) (emphasis added).

       These crucial distinctions represent a substantial difference in opinion between the ruling

of this Court and its sister courts.3 But this Court’s Order also differs from the Seventh Circuit’s

opinion in Bigger v. Facebook, Inc., 947 F.3d 1043 (7th Cir. 2020). There, on interlocutory appeal

from an FLSA conditional certification order, the court held “that a court may not authorize notice

to individuals whom the court has been shown entered mutual arbitration agreements waiving their

right to join the action.” Id. at 1050. Because they are legally ineligible to opt-in to the action,

“sending notice to those individuals may at least appear to predominantly inflate settlement

pressure instead of inform employees of an action in which they can resolve common issues.” Id.




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  The third case cited in the Order for this contention, Warren v. MBI Energy Servs., Inc., 2020
WL 5640617, at *2 (D. Colo. 2020), was decided three years ago—when the need for specific
personal jurisdiction over claims of FLSA opt-in plaintiffs was the subject of theoretical law
review articles, not Court of Appeals decisions.

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The court went on to explain how sending notice to individuals over whose claims there would be

no jurisdiction (there, because of arbitration agreements; here, because of personal jurisdiction)

“will appear to facilitate abuse of the collective-action device and thus place a judicial thumb on

the plaintiff’s side of the case.” Id. See also Booth v. Appstack, Inc., No. C13-1533JLR, at *31

(W.D. Wash. Mar. 29, 2015) (“As such, courts consistently decline to certify class definitions that

encompass members who are not entitled to bring suit under the applicable substantive law.”).

       In Circuits where the Bristol-Myers Squibb issue has been resolved and has been held to

apply to FLSA collective actions, courts never authorize notice to individuals over whose claims

they could not assert personal jurisdiction. As one court explained: “[employees] who worked for

Amtel outside of Ohio are situated differently than Ohio-based [employees] for a simple reason:

this court lacks the specific jurisdiction over the claims of [employees] who did not work for Amtel

in Ohio.” Hafley v. Amtel, LLC, 1:21-cv-203, at *12 (S.D. Ohio Mar. 18, 2022). This reasoning

cannot be reconciled with this Court’s holding that “Luna Vanegas has met his initial burden to

show that the other members of the proposed collective are similarly situated” while

simultaneously declining to rule on personal jurisdiction; Luna Vanegas cannot be similarly

situated with H-2A workers who worked for Signet outside of Wisconsin if the Court does not

have jurisdiction over those non-Wisconsin workers’ claims.

       Similarly, district courts in other Circuits have recognized that this issue is inextricably

part of its threshold duty to determine the scope of any conditionally certified collective. As one

district court put it, “in order for the Court to determine to whom the plaintiff can appropriately

send notice, it must necessarily decide whether notifying out-of-state plaintiffs would be

appropriate.” Roberts v. Sidwell Air Freight Inc., C21-5912 BHS, at *9 (W.D. Wash. Nov. 15,

2022) (emphasis added) (expressly deciding the personal jurisdiction question at the conditional



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certification stage). It appears that the only cases—other than this one—where the collective action

was conditionally certified to include out-of-state claims without deciding Bristol-Myers Squibb

personal jurisdiction issue first were decided before issuance of any of the relevant Circuit Court

decisions on the issue, or before Bristol-Myers Squibb itself. Once courts realized that the issue

was contestable, they either resolved it at the time of conditional certification, or they reserved the

issue by limiting the conditional certification to a collective of in-state individuals.

       C. Appellate review of these issues promises to speed up the litigation.

       The Seventh Circuit recently reaffirmed that resolving a question of law on interlocutory

review “promises to speed up the litigation” when an appellate decision “would narrow the issues

moving forward.” Boone, 71 F.4th at 625. The court explained that defendants appropriately

sought interlocutory review under Section 1292(b) because “they do not want to spend the time

and money necessary to defend a law that, in their view, caused no harm to the plaintiffs.” Id. at

626. Similarly, here, Signet does not want to expend attorneys’ fees and this Court’s resources to

defend against potential opt-in claims that cannot be remedied in this forum. Because the Court’s

Order involves at least one controlling issue, appellate review could “head off protracted, costly

litigation.” Ahrenholz, 219 F.3d at 677 (citing United Airlines, Inc. v. Mesa Airlines, Inc., 219

F.3d 605 (7th Cir. 2000)).

       Consistent with these principles, the Third, Sixth, and First Circuits all decided the Bristol-

Myers Squibb personal jurisdiction issue on interlocutory appeal from the district court. Fischer v.

Fed. Express Corp., 42 F.4th 366, 370 (3d Cir. 2022) (“We granted Appellants' petition for

interlocutory appeal to resolve whether, in an FLSA collective action in federal court where the

court lacks general personal jurisdiction over the defendant, all opt-in plaintiffs must establish

specific personal jurisdiction over the defendant with respect to their individual claims.”); Canaday



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v. The Anthem Cos., 9 F.4th 392, 395 (6th Cir. 2021) (“Canaday sought to certify this order for

interlocutory appeal. See 28 U.S.C. § 1292(b). The district court granted Canaday her request, and

so did we.”); Waters v. Day & Zimmermann NPS, Inc., 23 F.4th 84, 86–87 (1st Cir. 2021) (“On

this interlocutory appeal, we now affirm the district court's denial of D&Z's motion”).

       The size and scope of the conditionally certified collective action will directly affect how

discovery proceeds in this case. Consequently, “this issue should be resolved earlier rather than

later.” Loch v. Am. Family Mut. Ins. Co., 22-cv-213-jdp, at *6 n.4 (W.D. Wis. Mar. 3, 2023). The

promise that appellate review will expedite litigation is not hypothetical—based on the outcome

of the appeal, the parties will either exchange discovery on Signet’s 23 Wisconsin H-2A workers

or on Signet’s 500+ H-2A workers nationwide.

       Waiting until decertification or a final judgment to resolve the issue will effectively result

in denying Signet’s right to appellate review altogether—by that time, Signet will have already

been forced to expend tremendous resources and fees on discovery and motions practice.

Moreover, sending notice to a nationwide collective under these circumstances “may become

indistinguishable from the solicitation of claims.” Bigger, 947 F.3d at 1049. Indeed, the Seventh

Circuit has recognized that “expanding the litigation with additional plaintiffs increases pressure

to settle, no matter the action’s merits.” Id. Said differently, the bell cannot be un-rung at that late

point. Signet should not be forced to face this pressure for months while controlling issues of law

remain uncertain.

III.   THE COURT SHOULD AMEND ITS AUGUST 2 ORDER

       “[T]he statute provides that when a district court enters ‘an order not otherwise appealable’

and concludes that it meets the statutory standards for interlocutory appeal, it ‘shall so state in

writing in such order.’” Groves v. United States, 941 F.3d 315, 324 (7th Cir. 2019) (quoting



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28 U.S.C. § 1292(b)). Consistent with Federal Rule of Appellate Procedure 5(a)(3), this statement

may “be added by amendment” to the original order. Id. The district court may amend an order to

add a Section 1292(b) certification at any time. Buckley v. Fitzsimmons, 919 F.2d 1230, 1239 (7th

Cir. 1990), vacated on other grounds, 502 U.S. 801 (1991).

       In light of the above authorities, if this Court agrees that the statutory criteria have been

met, it “shall so state” by an amendment to its August 2 Order.4

IV.    A STAY OF PROCEEDINGS IS APPROPRIATE AND NECESSARY

       “A right to interlocutory appeal of the arbitrability issue without an automatic stay of the

district court proceedings is therefore like a lock without a key, a bat without a ball, a computer

without a keyboard—in other words, not especially sensible.” Coinbase, Inc. v. Bielski, 143 S. Ct.

1915, 1921 (2023). Like the arbitrability issue in Bielski, the personal jurisdiction issue here is

dispositive on whether this Court is the proper forum for non-Wisconsin individuals to assert any

claims they may wish to assert. Indeed, as the Supreme Court explained two months ago, this rule

applies to any interlocutory appeal unless Congress has said otherwise:

       When Congress wants to authorize an interlocutory appeal and to automatically
       stay the district court proceedings during that appeal, Congress need not say
       anything about a stay. At least absent contrary indications, the background Griggs
       principle already requires an automatic stay of district court proceedings that relate
       to any aspect of the case involved in the appeal.

Id.




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  Alternatively, the Court could construe this Motion as a Motion for Reconsideration, and Signet
would welcome an amended order that readdresses and appropriately resolves these issues in the
first instance, without the need for interlocutory appellate review. Even if the Court continues to
agree that Plaintiff has met the standard for conditional certification, the Order could be amended
to limit the collective to qualifying individuals who worked for Signed in Wisconsin, while still
reserving the issue of personal jurisdiction. The Court could also opine on the merits of the
personal jurisdiction question before certifying the Order for interlocutory review.

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       Moreover, here, certifying an interlocutory appeal would have little practical effect without

a corresponding stay. See, e.g., Waters, 23 F.4th at 88 (“The district court has stayed the

proceedings below pending our resolution of D&Z's interlocutory appeal [on the Bristol-Myers

Squibb FLSA personal jurisdiction issue]”).

       Many, if not all, of the “danger[s]” that the Seventh Circuit warned about in Bigger can

only be avoided through a stay of the proceedings. Most importantly, if the Seventh Circuit holds

that “certain individuals may not join the action” because their claims cannot be used to assert

specific personal jurisdiction over Signet in a Wisconsin court, then “the notice may serve only to

prompt futile attempts at joinder or the assertion of claims outside the collective proceeding.”

Bigger, 947 F.3d at 1049. At minimum, the Court should stay any discovery related to out-of-state

workers, Signet’s obligation to provide to Plaintiffs the contact information for out-of-state

workers, and the issuance of notice to such individuals.

V.     CONCLUSION

       For the foregoing reasons, the Court should certify an interlocutory appeal from the August

2 Order granting Plaintiff’s Motion for Conditional Certification. Defendant respectfully requests

that the Court effectuate the appeal by amending the Order to add the necessary findings and by

staying the district court proceedings pending the Seventh’s Circuit’s disposition of the appeal.

                              Respectfully submitted this 10th day of August, 2023.

                                                     /s/Joshua H. Viau
                                                     Ann Margaret Pointer
                                                     Admitted Pro Hac Vice
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                                                     GA Bar No. 183411
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                                                     Admitted Pro Hac Vice


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                                CERTIFICATE OF SERVICE
       I hereby certify that on August 10, 2023, I electronically filed the foregoing with the Clerk

of Court using the ECF system, which will send notice of the foregoing to counsel of record as

follows:

                               Jennifer J. Zimmermann
                               Erica Sweitzer-Beckman
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                               Lorraine A. Gaynor
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                               75007

                                                         /s/Joshua H. Viau
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


 JOSE AGEO LUNA VANEGAS,
 on behalf of himself and all others similarly situated,

                               Plaintiff,                           OPINION and ORDER
        v.
                                                                         21-cv-54-jdp
 SIGNET BUILDERS, INC.,

                               Defendant.


       This collective action under Fair Labor Standards Act already has a complicated

procedural history, most of which the court can skip. The issue of the day concerns whether

the principles of personal jurisdiction set out in Bristol-Myers Squibb Co. v. Superior Court, 582

U.S. 255 (2017), for state-law mass torts should be extended to FLSA collective actions.

       Plaintiff Luna Vanegas seeks to represent a collective of mostly non-U.S. citizens who

worked under H-2A guestworker visas for defendant Signet Builders, Inc., a citizen of Texas.

The proposed collective has about 30 potential members who worked in Wisconsin and almost

600 who did their work in other states. Vanegas did his work in Wisconsin, so the court has

specific jurisdiction over Signet for the claims of Vanegas, the only named plaintiff. The court

conditionally certified the proposed collective, which would allow plaintiff’s counsel to send

notice to all the potential members of the collective and open discovery. Dkt. 107. In the

certification decision, the court declined to decide the Bristol-Myers Squibb jurisdictional issue:

whether the court could exercise personal jurisdiction over Signet to decide the claims of

workers with no connection to Wisconsin. That jurisdictional issue, so the court thought at the

time, should wait for another day, after the court saw how many out-of-state members opted

in.



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       But Signet is not content to wait, and it has filed a motion pressing the jurisdictional

issue. Dkt. 110. Signet asks the court to certify two issues to the court of appeals. First, in an

FLSA collective action, is it proper to defer the personal jurisdiction inquiry until after notice

to the collective? Second, for a defendant not subject to general jurisdiction, must the district

court establish specific personal jurisdiction over each of the claims of the out-of-state opt-in

collective members?

       Signet has convinced the court of the importance of the issue. So the court will decide

the issue (though not in Signet’s favor), certify the questions to the court of appeals, and stay

the case pending the outcome of the certification.



                                           ANALYSIS

A. Timing

       Generally district courts have “wide discretion to manage collective actions.” Alvarez v.

City of Chicago, 605 F.3d 445, 449 (7th Cir. 2010); see also, Hoffmann-La Roche Inc. v. Sperling,

493 U.S. 165, 169 (1989). District courts in this circuit use a two-step process for certifying

collectives, applying a relatively lenient standard at conditional certification followed by a more

stringent analysis once the opt-in process is complete. Jirak v. Abbott Labs., Inc., 566 F. Supp.

2d 845, 848 (N.D. Ill. 2008). This approach might well result in some putative collective

members receiving notice and opting in only to be deemed ineligible if the court decertifies the

collective. See, e.g., Espenscheid v. DirectSat USA, LLC, No. 09-CV-625-BBC, 2011 WL

2009967, at *7 (W.D. Wis. May 23, 2011) (decertifying a hybrid class and collective action

“on the eve of trial” because class members and opt-in plaintiffs were not similarly situated).




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       The two-step process is common and often efficient, but it has a downside. The Seventh

Circuit has acknowledged that adding additional plaintiffs increases settlement pressure and it

has cautioned that district courts do not have completely free reign to authorize notice to a

potentially overbroad conditional collective. Bigger v. Facebook, Inc., 947 F.3d 1043, 1049–50

(7th Cir. 2020) (concluding that district courts have an obligation to allow the parties to submit

evidence about the proper scope of notice and not authorize notice to demonstrably ineligible

individuals).

       Signet argues that in this case, sending notice to a nationwide collective would unfairly

expand the scope of the litigation, give plaintiff’s counsel undue leverage, and potentially force

an unreasonable settlement. Dkt. 120 at 3. Signet points specifically to the disparity between

the small number of Wisconsin workers, about 30, and the comparatively huge number of out-

of-state workers, almost 600. Dkt. 110 at 6. The court is persuaded that in this case the ardors

of aggregate litigation are sufficiently burdensome that it would be unfair to proceed without

deciding whether the court could, ultimately, exercise jurisdiction over the claims of out-of-

state opt-in members.

B. The merits

       The personal jurisdiction question arises from the Supreme Court’s decision in Bristol-

Myers Squibb Co. v. Superior Court, 582 U.S. 255 (2017). That case involved a California state-

law mass tort action against Bristol-Myers Squibb, over which the court did not have general

jurisdiction. Id. at 260. The claims in the mass tort action included hundreds that involved

injuries incurred out-of-state and that did not involve any contact with California by Bristol-

Myers Squibb. Id. at 264–65. The Supreme Court held that because the California state court

could not exercise general jurisdiction over Bristol-Myers Squibb, it would have to have specific


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jurisdiction over each claim in the mass tort action. Id. at 265. That precluded the state court

from exercising jurisdiction over claims that arose in states other than California, because

specific jurisdiction applies only to claims that relate to the defendant’s contacts with the

forum. Id. The bottom line was that the California mass tort action was simply the aggregation

of many individual claims, and the court had to have a basis for personal jurisdiction over each

individual claim. The Supreme Court reasoned that that case called only for the application of

well-established jurisdictional principles. Id. at 268. But the decision has resulted in some

confusion about the application of those jurisdictional principles to forms of aggregate

litigation.

        The circuits are split on the application of Bristol-Myers Squibb to FLSA collective

actions. The Third, Sixth, and Eighth Circuits have concluded that courts must treat opt-in

plaintiffs in FLSA collective actions like the mass-tort plaintiffs in Bristol-Myers Squibb. See

Canaday v. Anthem Cos., 9 F.4th 392 (6th Cir. 2021); Fischer v. Fed. Express Corp., 42 F.4th 366

(3d Cir. 2022); Vallone v. CJS Sols. Grp., LLC, 9 F.4th 861 (8th Cir. 2021). These courts

reasoned that Federal Rule of Civil Procedure 4(k)(1) requires courts to conduct a separate

personal jurisdiction analysis under the Fourteenth Amendment Due Process Clause for each

plaintiff that opts into an FLSA action. Canaday, 9 F.4th at 399; Vallone, 9 F.4th at 865; Fischer,

42 F.4th at 382–83. In the view of these three courts, the FLSA opt-in is, by virtue of opting

in, an active plaintiff like any other. In contrast, the First Circuit reasoned that Rule 4(k)

provides only a limit on effective service of the summons, not an independent limit on

jurisdiction once a summons has been served. Waters v. Day & Zimmermann NPS, Inc., 23 F.4th

84, 94 (1st Cir. 2022). The First Circuit concluded that only the named plaintiffs’ FLSA claims

need to arise from the defendants’ contacts with the forum state, because once a defendant is


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properly served, the Fifth Amendment’s Due Process Clause controls the personal jurisdiction

analysis. Id. at 96.

       The Seventh Circuit has not directly addressed whether the Bristol-Myers Squibb

jurisdictional approach applies to FLSA collective actions. But it has ruled that Bristol-Myers

Squibb does not apply to federal class actions. Mussat v. IQVIA, Inc., 953 F.3d 441 (7th Cir.

2020). The court of appeals held that a district court need not secure personal jurisdiction over

the claims of the absent members of a nationwide class; the required jurisdictional analysis

applies only to the named plaintiffs.

       For three reasons, the court concludes that the First Circuit’s decision in Waters is

consistent with the Seventh Circuit’s approach to personal jurisdiction in aggregate litigation.

First, the Seventh Circuit has repeatedly stressed the similarities between class actions under

Rule 23 and FLSA collective actions, and it applies the same standards to both. See Espenscheid

v. DirectSat USA, LLC, 688 F.3d 872, 877 (7th Cir. 2012) (explaining that courts treat

collective actions “as the equivalent of class actions—and thus for example do not require

motions to intervene and do require certification . . . except that in a collective action unnamed

plaintiffs need to opt in to be bound, rather than, as in a class action, opt out not to be

bound.”); Espenscheid v. DirectSat USA, LLC, 705 F.3d 770, 772 (7th Cir. 2013) (“Indeed,

despite the difference between a collective action and a class action and the absence from the

collective-action section of the Fair Labor Standards Act of the kind of detailed procedural

provisions found in Rule 23 . . . there isn’t a good reason to have different standards for the

certification of the two different types of action, and the case law has largely merged the

standards”); Herrington v. Waterstone Mortg. Corp., 907 F.3d 502, 507 (7th Cir. 2018) (applying




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the same analysis to question of the availability of collective arbitration as that used for class

arbitration).

       From the perspective of this district court, the Seventh Circuit’s approach to FLSA

collective actions reflects the reality of collective action litigation. Generally, in FLSA collective

litigation, contact between plaintiffs’ counsel and the members of the collective is limited to

the receipt of the opt-in consent forms. The opt-in members do not actively participate in, let

alone control, the litigation. The opt-ins are for nearly all purposes absent parties whose

interests the court must step in to protect, just as the court must consider and protect the

interests of the unnamed Rule 23 class members who will be bound by a settlement in which

they did not participate.

       Second, the Seventh Circuit’s consideration of Rule 4(k) in Mussat aligns with the First

Circuit’s reasoning in Waters. In the view of the First Circuit, the Sixth and Eighth Circuits

“rely on an erroneous reading of Rule 4, and fail to successfully confront the fact that Rule 4(k)

is a ‘territorial limit’ on ‘effective service’ of a summons, and thus logically cannot be read to

limit a federal court’s jurisdiction after a summons is properly served.” Waters, 23 F.4th at 97.

In Mussat, the Seventh Circuit followed similar reasoning: “Rule 4(k) addresses how and where

to serve process; it does not specify on whom process must be served.” 953 F.3d at 448.

       Third, the approach of the Third, Sixth, and Eighth Circuits would have the practical

effect of forcing plaintiffs to file any multi-state FLSA collective action in the defendant

employer’s home forum. If Congress or the Supreme Court had intended to so limit the venue

of FLSA collective actions, one would have expected a clear statement to that effect. This seems

to be a dramatic change from historical practice to wring from a close reading of Rule 4

concerning service of process.


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       The court concludes that the jurisdictional principles in Bristol-Myers Squibb do not

apply in FLSA collective actions. The court concludes that it has specific jurisdiction over

Signet because the claims of Luna Vanegas, the sole named plaintiff, arise from Signet’s

contacts with Wisconsin. The court need not separately consider personal jurisdiction over the

claims of the potential out-of-state opt-in plaintiffs.

C. Interlocutory appeal

       Under 28 U.S.C. § 1292(b) a district court may certify an order for interlocutory review

if the order (1) involves a question of law, (2) is controlling, (3) is contestable, and (4) its

resolution will materially advance the ultimate termination of the litigation. Whether Bristol-

Myers Squibb applies to FLSA collective actions is a pure question of law that can be decided

on appeal without a study of the factual record. The question is controlling because it will

dramatically affect the future scope of the litigation. The circuit split on the question shows

that it is contestable. Finally, as a practical matter, immediate appeal will materially advance

the ultimate resolution of this litigation by resolving uncertainly about the proper scope of the

collective as it proceeds to the opt-in period, discovery, and summary judgment.

       To be clear, conditional certification does not automatically present an appropriate

question for interlocutory appeal, even though the two-step process may create a risk that

ineligible workers will opt into a collective action. See, e.g., In re New Albertsons, Inc., No. 21-

2577, 2021 WL 4028428, at *2 (7th Cir. Sept. 1, 2021) (“Further, conditional certification

and authorization of notice to others who may be similarly situated is a preliminary, non-final

step that does not adjudicate any party's rights.”). But the Bristol-Myers Squibb question

presents a circumstance where an immediate appeal of a pure question of law promises to

efficiently advance the litigation, as other courts have recognized. See Canaday, 9 F.4th 392


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(deciding Bristol-Myers Squibb applies to FLSA collective actions on interlocutory appeal from

district court decision on a motion to dismiss); Waters, 23 F.4th 84 (same); Fischer v. Fed. Express

Corp., 42 F.4th 366 (3d Cir. 2022) (deciding Bristol-Myers Squibb question on interlocutory

appeal from decision granting conditional certification for a collective limited to in-state

workers). And this case provides an appropriate factual context for interlocutory review of this

issue, because out-of-state potential members outnumber Wisconsin members by 20 to one.

The court will amend its August 2, 2023, order to decide the jurisdictional issue and to certify

the decision for interlocutory review.

       The final issue in Signet’s motion is whether the court should stay the proceedings until

the Seventh Circuit decides Signet’s petition for interlocutory review. Whether to grant a stay

is within the court’s discretion. Courts consider the usual factors: (1) the likelihood of success

on the merits, (2) whether irreparable injury will result without a stay, (3) whether the stay

will substantially injure the other party, and (4) the public interest. Nken v. Holder, 556 U.S.

418, 434 (2009). These factors counsel in favor of a stay in this circumstance, where the reason

for certification of interlocutory appeal is to clarify the proper scope of the collective before

Luna Vanegas distributes notice to a nationwide collective. Luna Vanegas raises the legitimate

concern that a stay will injure plaintiffs if the statute of limitations runs pending the appeal.

Signet responds that it does not oppose tolling the statute of limitations for putative collective

members during the pendency of the interlocutory appeal. So, to ameliorate potential harm to

the plaintiffs, the court will toll the statute of limitations for putative collective members during

the pendency of the interlocutory appeal.



                                              ORDER


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IT IS ORDERED that:

1. The order dated August 2, 2023, Dkt. 107, is AMENDED to decide that this court
   has personal jurisdiction over the nationwide FLSA collective action and to certify
   that decision for interlocutory review under 28 U.S.C. § 1292.

2. The case is STAYED pending the Seventh Circuit resolution of Signet’s
   interlocutory appeal.

3. The statute of limitations for members of the putative collective defined in the
   court’s August 2, 2023 order, Dkt. 107, is tolled pending the Seventh Circuit
   resolution of Signet’s interlocutory appeal.

           6HSWHPEHU
Entered ___________________, 2023.

                                   BY THE COURT:


                                     V
                                   ________________________________________
                                   JAMES D. PETERSON
                                   District Judge




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